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                 7
                 8                                     UNITED STATES DISTRICT COURT

                 9                                     EASTERN DISTRICT OF CALIFORIA

                 10
                          TROY McFADYEN, in his Individual                    No. 2:18-CV-02912-TLN-DMC
                 11       Capacity, And as Heir at Law and Successor
                          in Interest To MICHELLE MCFADYEN,                   COMPLAINT FOR DAMAGES
                 12       deceased;
                          PHILLIP BOW; and                                    CIVIL RIGHTS ACTION AND
                 13       SIA BOW, as Heirs of Law and Successors             PENDANT STATE CLAIMS
                          In Interest to MICHELLE MCFADYEN,
                 14       Deceased;                                           (DEMAND FOR JURY TRIAL)

                 15                     Plaintiffs,                               FEDERAL CAUSES OF ACTION

                 16                     vs.                                   [1. VIOLATION OF DUE PROCESS
                                                                              UNDER THE 14 AMENDMENT, IN
                                                                                                th



                 17       COUNTY OF TEHAMA;                                   VIOLATION OF 42 U.S.C. §1983]
                          TEHAMA COUNTY SHERIFFS’ OFFICE;
                 18       SHERIFF DAVE HENCRATT, in his                       [2. VIOLATION OF EQUAL
                          individual and official capacity as Sheriff for     PROTECTION UNDER THE 14         TH



                 19       the County of Tehama Sheriff’s Department;          AMENDMENT, IN VIOLATION OF 42
                          ASSISTANT SHERIFF PHIL JOHNSTON,                    U.S.C. §1983 (STATE CREATED
                 20       in his individual and official capacity as          DANGER)]
                          Assistant Sheriff for the County of Tehama
                 21       Sheriff’s Department;                               [3. FAILURE TO TRAIN/SUPERVISE,
                          SUCCESSOR IN INTEREST OR ESTATE OF                  IN VIOLATION OF 42 U.S.C. §1983]
                 22       KEVIN NEAL and;
                          THE RANCHO TEHAMA ASSOCIATION                       [4. CONSPIRCY TO DEPRIVE PERSONS
                 23       INC.,                                               OF RIGHTS OR PRIVILEGES, IN
                                                                              VIOLATION OF 42 USC SECTION 1985]
                 24                      Defendants.
                                                                              [5. CONSPIRCY TO OBSTRUCT
                 25                                                           JUSTICE, IN VIOLATION OF 42 USC
                                                                              SECTION 1985]
                 26
                                                                              [6. NEGLECT TO PREVENT HARM, IN
                 27                                                           VIOLATION OF 42 USC SECTION 1986]

                 28                                                           [7. VIOLATION OF 8 AMENDMENT,
                                                                                                         TH




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                 1                                                CRUEL AND UNUSUAL PUNISHMENT,
                                                                  VIOLATION OF 42 USC 1983]
                 2
                                                                  [8. VIOLATION OF 4 AMENDMENT,
                                                                                     TH



                 3                                                UNLAWFUL DETENTION / FALSE
                                                                  ARREST, VIOLATION OF 42 USC 1983]
                 4
                                                                  STATE CAUSES OF ACTION - COUNTY
                 5
                                                                  [9. FAILURE TO PERFORM
                 6                                                MANDATORY DUTIES GOV’T CODE
                                                                  SECTION 815.6, VIOLATION OF PENAL
                 7                                                CODE SECTIONS 836(A) AND (C)(1))]

                 8                                                [10. VIOLATION OF CIVIL CODE 52.1]

                 9                                                [11. NEGLIGENT SUPERVISION,
                                                                  TRAINING, RETENTION AND
                 10                                               RATIFICATION]

                 11                                               [12. NEGLIGENCE – VIOLATION OF
                                                                  GOVERNMENT CODE §815.2]
                 12
                                                                  [13. WASTE OF PUBLIC FUNDS,
                 13                                               VIOLATION OF CCP SECTION 526A]

                 14                                                   CAUSES OF ACTION AGAINST
                                                                        ESTATE OF KEVIN NEAL
                 15
                                                                  [14. BATTERY]
                 16
                                                                  [15. ASSAULT]
                 17
                                                                  [16. INTENTIONAL INFLICTION OF
                 18                                               EMOTIONAL DISTRESS]

                 19                                               [17. STRICT LIABILITY –
                                                                  ULTRAHAZARDOUS AND
                 20                                               ABNORMALLY DANGEROUS
                                                                  ACTIVITY]
                 21
                                                                  [18. HARASSMENT]
                 22
                                                                   CAUSES OF ACTION AGAINST THE
                 23                                               RANCHO TEHAMA ASSOCIATION INC

                 24                                               [19. NEGLIGENCE / NEGLIGENT
                                                                  PREMISE LIABILITY]
                 25
                                                                   CAUSES OF ACTION AGAINST ALL
                 26                                                        DEFENDANTS

                 27                                               [20. PUBLIC AND PRIVATE NUISANCE]

                 28                                               [21. NEGLIGENT INFLICTION OF
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                 1                                                            EMOTIONAL DISTRESS –
                                                                              BYSTANDER]
                 2
                                                                              [22. INTENTIONAL INFLICTION OF
                 3                                                            EMOTIONAL DISTRESS]

                 4
                 5                                COMPLAINT AND DEMAND FOR JURY TRIAL

                 6                1.     COMES NOW Plaintiffs, TROY McFADYEN, PHILLIP BOW, and SIA

                 7        BOW, by and through their attorneys of record, and allege the following against defendants.

                 8        Further, plaintiffs demand a jury trial.

                 9                                                   JURISDICTION

                 10               2.     This action is brought pursuant to 42 U.S.C. §§1983, 1985, 1986 and 1988 for

                 11       violations of the Fourth, Eighth and Fourteenth Amendments to the United States Constitution.

                 12               3.     Jurisdiction is based on 28 U.S.C. §§1331 and 1343.

                 13               4.     Plaintiffs further seek to invoke supplemental jurisdiction over state law claims

                 14       under 28 U.S.C. §1367.        Plaintiffs have filed the appropriate administrative claim with

                 15       defendant COUNTY OF TEHAMA, and plaintiff’s claim was rejected by that entity on June 5,

                 16       2018.

                 17               5.     Venue is proper in this court because the events giving rise to this Complaint all

                 18       occurred in Tehama County, California, a geographical area which falls within the boundaries

                 19       of the United States District Court for the Eastern District of California.

                 20               6.     Plaintiffs seek an award of compensatory damages, costs and expenses and

                 21       reasonable attorney’s fees pursuant to 42 USC Section 1983. Further, fee entitlement is alleged

                 22       pursuant to 42 USC section 1988.

                 23                                                  THE PARTIES

                 24               7.     That, at all times pertinent hereto, plaintiff TROY McFADYEN is a resident of

                 25       the City of Cottonwood, County of Shasta, State of California. Further, at all times pertinent

                 26       hereto, plaintiff is the surviving spouse of MICHELLE MCFADYEN, deceased. Plaintiff brings

                 27       this action in his individual capacity as a victim and as the heir of MICHELLE MCFADYEN,

                 28       deceased.
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                 1               8.      That, at all times pertinent hereto, plaintiff PHILLIP BOW was a resident of the

                 2        City of Santa Rosa, County of Sonoma, State of California, and he is the surviving adult son of

                 3        MICHELLE MCFADYEN, deceased.

                 4               9.      That, at all times pertinent hereto, plaintiff SIA BOW was a resident of the City

                 5        of Redding, County of Shasta, State of California, and he is the surviving adult daughter of

                 6        MICHELLE MCFADYEN, deceased.

                 7               10.     Plaintiffs TROY McFADYEN, PHILLIP BOW and SIA BOW are hereinafter

                 8        collectively referred to as plaintiffs or individually by name.

                 9               11.     Plaintiffs are informed and believe and thereon allege that, at all times pertinent

                 10       hereto, defendants COUNTY OF TEHAMA, and COUNTY OF TEHAMA SHERIFF’S

                 11       OFFICE (hereinafter referenced as the “DEPARTMENT” and/or the “COUNTY” were,

                 12       respectively, a body politic (to wit, a county government) and one of its departments organized,

                 13       existing and operating as such in and under the laws of the State of California, with their

                 14       principal place of business located in the City of Red Bluff, County of Tehama, State of

                 15       California. Plaintiffs are further informed and believe and thereon allege that, at all times

                 16       pertinent hereto, defendants COUNTY employed DAVE HENCRATT and PHIL JOHNSTON

                 17       as Sheriff and Assistant Sheriff, respectively.

                 18              12.     Defendants COUNTY OF TEHAMA, COUNTY OF TEHAMA SHERIFF’S

                 19       OFFICE, DAVE HENCRATT and PHIL JOHNSTON are hereinafter collectively referred to as

                 20       “defendants COUNTY.”

                 21              13.     Plaintiffs are informed and believe and thereon allege that, at all times pertinent

                 22       hereto, defendant DAVE HENCRATT was a resident of the County of Tehama, State of

                 23       California, and that he was employed as a sworn officer and Sheriff with defendants COUNTY

                 24       and was acting in the scope and course of that employment. Defendant DAVE HENCRATT is

                 25       sued in his official and individual capacity and is hereinafter referred to as “defendant

                 26       HENCRATT.”        Defendant HENCRATT was at all pertinent times, a policymaker and/or

                 27       decision maker for the County of Tehama.

                 28       ///
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                 1               14.     Plaintiffs are informed and believe and thereon allege that, at all times pertinent

                 2        hereto, defendant PHIL JOHNSTON was a resident of the County of Tehama, State of

                 3        California, and that he was employed as a sworn officer and Assistant Sheriff with defendants

                 4        COUNTY and was acting in the scope and course of that employment. Defendant PHIL

                 5        JOHNSTON is sued in his official and individual capacity and is hereinafter referred to as

                 6        “defendant JOHNSTON.” Defendant JOHNSTON was at all pertinent times, a policymaker

                 7        and/or decision maker for the County of Tehama.

                 8               15.     The named defendants are being sued in their official and individual capacities,

                 9        including in their supervisory capacities where applicable.

                 10              16.     Plaintiffs are informed and believe and thereon allege that, defendant KEVIN

                 11       NEAL died on November 14, 2017, and therefore, bring this action against the SUCCESSOR

                 12       IN INTEREST OR ESTATE OF KEVIN NEAL, who at all times pertinent hereto was believed

                 13       to be resident of the County of Tehama, State of California.

                 14              17.     Plaintiffs are informed and believe and thereon allege that, defendant THE

                 15       RANCHO TEHAMA ASSOCIATION (hereinafter “RTA” or “the Association”) is, and at all

                 16       times herein mentioned was, an association of property owners of the Rancho Tehama Unit 1,

                 17       in the City of Rancho Tehama, County of Tehama, State of California, as more particularly set

                 18       out in the Articles of Incorporation filed on June 4, 1998, the Declaration Restrictions, located

                 19       in Volume 544, Page 272, and recorded on August 28, 1970, in the official Records of the

                 20       Recorder of Tehama County, and subsequently modified by Instrument recorded on January 28,

                 21       1971, located in Volume 561, Page 254.

                 22              18.     Defendants COUNTY OF TEHAMA, COUNTY OF TEHAMA SHERIFF’S

                 23       OFFICE, PHIL JOHNSTON and DAVE HENCRATT, THE ESTATE OF NEAL, and THE

                 24       RANCHO TEHAMA ASSOCIATION, are hereinafter referred to collectively as defendants or

                 25       individually by name.

                 26              19.     All herein complained actions of defendants, and each of them, were done with

                 27       recklessness, malice, intent, negligence, gross negligence and/or deliberate indifference and in a

                 28       manner that shocks the conscience.
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                 1                                        CASE SPECIFIC ALLEGATIONS

                 2                Plaintiffs hereby incorporates by reference all preceding paragraphs as though set out in

                 3        full herein.

                 4                20.    On November 14, 2017, plaintiff TROY McFADYEN was driving his car on

                 5        Stagecoach Road near Oak Park Road in Rancho Tehama.                      His wife, MICHELLE

                 6        MCFADYEN, mother of SIA and PHILLIP BOW, was a passenger in the car.

                 7                21.    At the time and place aforesaid, KEVIN NEAL, driving a stolen F-150 pickup,

                 8        and driving in the opposition direction as the McFadyen’s, swerved directly into the path of and

                 9        struck the McFadyen’s car causing it to go off into a drainage ditch.

                 10               22.    As TROY and MICHELLE MCFADYEN tried to get out of the car, they heard

                 11       gunshots. They then saw KEVIN NEAL in the roadway, walking towards them and shooting at

                 12       them.

                 13               23.    After the shooting, and after KEVIN NEAL had left, plaintiffs are further

                 14       informed and believe and thereon allege that, the sheriffs’ department arrived with three to four

                 15       patrol cars and assumed TROY McFADYEN was the shooter and detained him, even though

                 16       TROY MCFADYEN had been shot by KEVIN NEAL. During his detention, neither TROY

                 17       nor MICHELLE MCFADYEN were free to leave and as they were in the officers’ custody.

                 18       Therefore, there existed a “special relationship” between plaintiffs and the officers at the point

                 19       they detained him, for the purposes of establishing the officers’ duty to act under 42 USC

                 20       section 1983. Even though both TROY and MICHELLE McFADYEN were shot and required

                 21       medical assistance, defendants refused to provide them with medical care. After determining

                 22       that plaintiff TROY McFADYEN was a victim, and not the shooter, the sheriffs abandoned him

                 23       and MICHELLE MCFADYEN, and again refused to summon medical assistance. Defendant

                 24       DEPARTMENT did not check on MICHELLE MCFADYEN and she succumbed to her

                 25       injuries. Defendants affirmative conduct placed plaintiff TROY McFADYEN and decedent

                 26       MICHELLE MCFADYEN in an even more dangerous situation and the DEPARTMENT was

                 27       deliberately indifferent to the fact that plaintiff and decedent may suffer further injury or assault

                 28       by being left in an open-shooter situation, in the road in critical condition. Rather than using
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                 1        one of the four patrol cars that arrived to assist TROY McFADYEN and his wife, defendant

                 2        DEPARTMENT and all of their patrol cars left the scene exposing TROY to vehicles traveling

                 3        at high speeds near his bleeding body.

                 4               24.     A third party witness/ garbage truck driver, happened upon TROY laying in the

                 5        road and, realizing the danger, moved him into the dumpster/garbage portion of his vehicle, for

                 6        protection. Since no ambulance was called, TROY McFADYEN was driven to the hospital in

                 7        the dumpster of this garbage truck. At all times pertinent hereto, defendant COUNTY had a

                 8        duty to protect plaintiffs and provide medical care due to the existence of the special

                 9        relationship. In committing the acts described herein, defendant COUNTY violated plaintiffs’

                 10       constitutional rights by breaching the duty owed to plaintiff and decedent and acted willfully,

                 11       knowingly, under color of state authority.

                 12              25.     KEVIN NEAL’S actions of firing his weapon at MICHELLE MCFADYEN and

                 13       TROY McFADYEN, and the lack of medical attention thereafter, ultimately resulted in

                 14       MICHELLE McFADYEN’s death, and severely injured TROY McFADYEN causing him

                 15       emotional distress, permanent disfigurement, constant pain, and anxiety that would normally

                 16       stem from an incident and injuries such as this. TROY McFADYEN’s injuries have severely

                 17       impacted his ability to work at his physically demanding job.

                 18              26.     As a direct, proximate, immediate and foreseeable result of the actions and

                 19       conduct of defendants, and each of them, plaintiff TROY McFADYEN was injured and suffered

                 20       grievous and permanent injuries to his physical, mental, emotional and nervous systems, all to

                 21       his detriment in an amount greatly in excess of the minimum jurisdiction of this Court,

                 22       including, but not limited to, those injuries set forth in paragraph 25 of this complaint.

                 23              27.     As a further direct, proximate, immediate and foreseeable result of the actions and

                 24       conduct of defendants, and each of them, plaintiff TROY McFADYEN was forced to hire

                 25       physicians and surgeons and undergo other and further expense as and for his medical care, all in

                 26       an amount which cannot yet be ascertained. Plaintiffs will seek leave to amend this complaint to

                 27       allege such amount when it becomes more certain.

                 28              28.     As a further direct, proximate, immediate and foreseeable result of the actions and
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                 1        conduct of defendants, and each of them, plaintiff TROY McFADYEN, has lost wages and/or

                 2        been greatly reduced in his working capacity and/or future working capacity. Plaintiffs are

                 3        informed and believe and, on such information, and belief state that this said reduction in

                 4        earning capacity will continue into the future in an amount which cannot yet be ascertained.

                 5                  29.   As a further direct, proximate, and foreseeable result of aforementioned actions

                 6        and conduct of defendants, and each of them, plaintiff TROY MCFADYEN has suffered, and

                 7        will continue to suffer in the future, consequential damages and other incidental damages and

                 8        out-of-pocket expenses, all to plaintiff’s general damages in a sum to be determined at the time

                 9        of trial.

                 10                 30.   As a further direct, proximate, and foreseeable result of aforementioned actions

                 11       and conduct of defendants, and each of them, plaintiffs were compelled to retain legal counsel

                 12       to protect his rights. Therefore, defendants, and each of them, are liable to plaintiffs for those

                 13       attorney's fees incurred by plaintiffs in a sum to be determined at the time of trial.

                 14                 31.   As a direct, proximate, immediate and foreseeable result of the actions and

                 15       conduct of defendants, and each of them, MICHELLE MCFADYEN was fatally shot, all to

                 16       plaintiffs’ damage in an amount greatly in excess of the minimum jurisdiction of this Court.

                 17                 32.   As a further direct, legal, proximate, immediate and foreseeable result of the

                 18       actions and conduct of defendants, and each of them, plaintiffs TROY MCFADYEN, SIA BOW

                 19       and PHILLIP BOW have been deprived of the care, comfort, society and support of their loved

                 20       one, MICHELLE MCFADYEN, all to plaintiffs’ damage in an amount greatly in excess of the

                 21       minimum jurisdiction of this Court.

                 22                 33.   As a further, direct, legal, proximate, immediate and foreseeable result of the

                 23       negligence of these defendants, and each of them, in causing the death their loved one,

                 24       MICHELLE MCFADYEN, plaintiffs TROY MCFADYEN, SIA BOW and PHILLIP BOW

                 25       incurred funeral and burial expenses in an amount subject to proof at the time of trial of this

                 26       matter.

                 27                 34.   Plaintiffs are informed and believe and thereon allege that defendants, and each of

                 28       them, are negligent or in some other way responsible for acts of which plaintiffs are unaware.
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                 1        Plaintiffs will seek leave of Court to amend this Complaint for Damages at such time as

                 2        plaintiffs discover the other acts of said defendants constituting said liability.

                 3                                                GENERAL ALLEGATIONS

                 4                Plaintiffs hereby incorporates by reference all preceding paragraphs as though set out in

                 5        full herein.

                 6                35.    On November 14, 2017, KEVIN NEAL murdered at least 5 people and injured

                 7        at least a dozen others.

                 8                36.    Plaintiffs are informed and believe and thereon allege that for at least 10 months

                 9        prior to, and including the day before he went on his murderous spree, defendants COUNTY,

                 10       DEPARTMENT, HENCRATT, JOHNSTON and their employees or agents, actively, willfully,

                 11       recklessly and/or with deliberate indifference ignored cries for help from the community

                 12       regarding NEAL’s terrorist threats, erratic behavior, illegal acts, and possession and discharge

                 13       of illegal weapons and ammunition, and violations of his criminal protective order and

                 14       restraining order, to the point of enhancing the community’s danger and making the plaintiffs

                 15       and citizens of Rancho Tehama more vulnerable to harm.

                 16               37.    Defendants, COUNTY, DEPARTMENT, HENCRATT, JOHNSTON, and their

                 17       employees and agents were state actors, acting under the color of law, and in the course and

                 18       scope of their employment at all times pertinent herein, and defendants, and each of them, acted

                 19       with deliberate indifference to a known and obvious danger and created or increased the danger

                 20       to plaintiff TROY MCFADYEN and decedent MICHELLE MCFADYEN, and others.

                 21               38.    Plaintiffs are informed and believe and thereon allege that prior to November 14,

                 22       2017, defendant COUNTY, DEPARTMENT, JOHNSTON and HENCRATT and their

                 23       employees or agents, knew that NEAL had a violent history, was illegally in possession of and

                 24       was illegally discharging firearms, and by doing so was in violation of one or more restraining

                 25       orders and/or criminal protective orders; that defendants, and each of them, had a custom

                 26       pattern and practice of actively ignoring the complaints, and when they were not ignored, the

                 27       defendant department was so poorly and improperly trained, and had such a misunderstanding

                 28       of or reckless disregard for the law, that normal law enforcement protocol was either
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                 1         intentionally disregarded, or such laws and normal law enforcement protocol were so unknown

                 2         to defendant County so that the department would not know that it had authority to act; and that

                 3         the DEPARTMENT, COUNTY, JOHNSTON and HENCRATT ratified this conduct as they

                 4         did not know, or willfully ignored the law, continued with this practice and/or approved or were

                 5         complacent in such conduct. This deliberate indifference and/or lack of understanding enhanced

                 6         the danger the plaintiffs faced and left the plaintiffs more vulnerable to danger. For example,

                 7         plaintiffs and informed and believe and thereon allege that:

                 8                        a.      On January 31, 2017, NEAL was arrested for and was charged with

                 9                             Assault with a Deadly Weapon, False Imprisonment with Violence, Willful

                 10                            Discharge of a Firearm in a Grossly Negligent Manner, Battery, Cruelty to a

                 11                            Dependent Adult: Great Bodily Injury, Robbery, and Possession of an Illegal

                 12                            Firearm.

                 13                       b.      On April 7, 2017, the Superior Court for Tehama County issued a Civil

                 14                            Harassment Restraining order, good for 3 years, against Kevin Neal. It was

                 15                            served on him by Sgt. S. Hoag of the Tehama County Sherriff’s office. A

                 16                            criminal protective order was also put into place as a result of NEAL’s

                 17                            conduct. As a result, Kevin Neal was prohibited from possessing any gun or

                 18                            ammunition, and the orders allowed for law enforcement to search his home.

                 19                            The restraining order mandated that any sworn officer who had knowledge of

                 20                            the restraining order place NEAL under arrest if he was discovered with a

                 21                            gun or ammunition.

                 22                       c.      According to defendant DEPARTMENT’s records, prior to the subject

                 23                            incident, NEAL’s girlfriend called defendant DEPARTMENT informing

                 24                            them that NEAL was served with a restraining order restricting him from

                 25                            having firearms and that she was missing a firearm. The DEPARTMENT

                 26                            called NEAL’s girlfriend and she did not answer the phone, so the

                 27                            department closed the case.

                 28                       d.      According to defendant DEPARTMENT’s records, on August 21, 2017,
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                 1                         approximately two and a half months prior to the shooting, victim Diana

                 2                         Steele notified defendant department that NEAL was shooting a shotgun

                 3                         towards her home in violation of a criminal protective order (where she was a

                 4                         protected party), defendant department checked the area for exactly 1 (one)

                 5                         second according to their records, stated it was “Quiet upon arrival” and

                 6                         closed the case exactly 1 (one) second later without speaking to the reporting

                 7                         party or NEAL, and without making any attempt to contact any witnesses.

                 8                             i.       The protected reporting party was Diana Steele, a former nurse

                 9                                  from Sacramento. Ms. Steele and her son, Danny Elliott, were

                 10                                 murdered by NEAL during the subject incident. After murdering

                 11                                 Steele and Elliott, NEAL attempted to find Steele’s seven-year-old

                 12                                 grandson, G.E., at the local elementary school, to murder him. NEAL

                 13                                 ended up shooting a different six-year-old child at the school named

                 14                                 A.H. in the chest and leg. The bullet is still lodged in his chest.

                 15                           ii.       After Steele’s death defendant department stated that Steele and

                 16                                 Elliott’s calls about NEAL “were not credible” and their statements

                 17                                 therefore could not be used in an attempt to obtain a search warrant.

                 18                                 This is in direct contrast to the very language of the restraining order

                 19                                 protecting     Steele   from     NEAL       which     states,   in    part,

                 20                                 “INSTRUCTIONS FOR LAW ENFORCEMENT…Arrest Required

                 21                                 If Order Is Violated… If an officer has probable cause to believe that

                 22                                 the restrained person had notice of the order and has disobeyed it, the

                 23                                 officer must arrest the restrained person.” Simply looking at the

                 24                                 ammunition littering the property they claimed to have visited would

                 25                                 have shown a violation of the protective orders.

                 26                   e.      Plaintiffs are informed and believe and thereon allege that on October 21,

                 27                        2017 approximately 3 (three) weeks prior to the subject shooting a neighbor

                 28                        complained to defendant department of gunshots and screams they believed
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                 1                         were from NEAL’s girlfriend. The deputies arrived at the scene and the

                 2                         gunshots and screams continued, but the deputies left the scene without

                 3                         speaking to NEAL or NEAL’s girlfriend. NEAL’s girlfriend was found dead

                 4                         under the floorboards of his house when the department finally searched the

                 5                         home after the shooting and after NEAL was dead.

                 6                    f.       Plaintiffs are informed and believe and thereon allege that prior to

                 7                         November 14, 2017, defendants knew that NEAL had hit a woman in the

                 8                         face, bloodied her nose, and fired shots at her and her boyfriend; and in a

                 9                         different incident, NEAL fired shots with an illegally modified assault rifle

                 10                        and stabbed another person in the stomach with a knife.

                 11                   g.       Plaintiffs are informed and believe and thereon allege that Tehama

                 12                        County, the Tehama County Sheriff’s Office and Sheriff Dave Hencratt, and

                 13                        its agents or employees knew that NEAL only turned over a single firearm to

                 14                        a licensed gun dealer pursuant to the the 2017 restraining order. Tehama

                 15                        County, the Tehama County Sheriff’s Office and Sheriff Dave Hencratt, and

                 16                        its agents or employees knew that NEAL continued to possess             illegal

                 17                        firearms and ammunition and continued to illegally discharge hundreds of

                 18                        rounds of ammunition using his illegal firearms.

                 19                   h.       Plaintiffs are informed and believe and thereon allege that illegal

                 20                        ammunition could be seen on NEAL’s property from the public road in

                 21                        violation of both the restraining order and criminal protective order. There is

                 22                        no indication the DEPARTMENT ever asked NEAL about this contraband

                 23                        even though the DEPARTMENT was “surveilling” him.

                 24                   i.       Plaintiffs are informed and believe and thereon allege that defendant

                 25                        DEPARTMENT chose to ignore and refuse to respond to a call from

                 26                        NEAL’s family members to the department shortly before the shooting

                 27                        informing them that Mr. Neal was mentally unstable, deteriorating and had

                 28                        illegal firearms.
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                 1                39.    Despite this knowledge, plaintiffs are informed and believe and thereon allege

                 2         that Defendants COUNTY, DEPARTMENT, HENCRATT, JOHNSTON and their employees

                 3         and or agents, acted with deliberate indifference towards the community’s complaints about

                 4         NEAL’s dangerous conduct and created and/or enhanced the danger to plaintiffs and the

                 5         community by, including but not limited to:

                 6                       a.       Actively and willfully ignoring multiple complaints from at least 9 (nine)

                 7                            different people regarding NEAL’s violent tendencies, possession and

                 8                            shooting of firearms, including but not limited to shotguns and illegal assault

                 9                            rifles, stating that those who complained (many that are now deceased at the

                 10                           hands of NEAL and “protected persons”) were “not credible” and that the

                 11                           department could not respond to “he said/she said” reports of violence or

                 12                           gunfire, and that such instances of violence are “civil disputes” that law

                 13                           enforcement cannot resolve;

                 14                      b.       Actively concealing calls regarding NEAL by actively refusing to log

                 15                           calls in the official log about NEAL;

                 16                      c.       On one occasion, a neighbor complained to defendant DEPARTMENT

                 17                           of NEAL firing weapons and was told “to mind [her] own damn business.”

                 18                      d.       Threatening reporting victims calling about NEAL with arrest and/or jail

                 19                           time if they continued to call the sheriff’s office; (This sheriff’s department

                 20                           has a pattern and practice of telling victims/callers that they will be arrested,

                 21                           that they are harassing, and/or that they could face jailtime for calling to

                 22                           report crimes, separate and apart from the instances outlined herein.)

                 23                      e.       Actively ignoring credible reports of violence and violations of NEAL’s

                 24                           restraining order/ Criminal Protective Order, such as evidence of ammunition

                 25                           littering NEAL’s yard in plain view, bullet holes in his fence that indicated

                 26                           that someone who was inside NEAL’s fence had been shooting through it,

                 27                           reports of possession of firearms, including illegal unregistered assault rifles

                 28                           and “ghost guns”, and reports that NEAL was discharging firearms within
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                 1                         the community, at his home, near or towards other homes (including

                 2                         protected parties’ homes) and firing hundreds of rounds at a time; and

                 3                         NEAL’s admission to an officer of the Tehama Sheriff’s Office that he had

                 4                         been shooting a firearm, but stated he was shooting it in a safe manner;

                 5                    f.      Responding to complaints such as those set forth in paragraph (d), that as

                 6                         long as NEAL was shooting the guns in “a safe manner” there was nothing

                 7                         they could do; that even though NEAL had a restraining order and a criminal

                 8                         protective order against him and was prohibited from having firearms and

                 9                         ammunition, that they could not do anything without photographic evidence,

                 10                        video or the officer witnessing it himself. This lack of understanding and/or

                 11                        or deliberate indifference to the “plain view” doctrine and California and

                 12                        Federal law, shows an obvious failure to train or a deliberate indifference to

                 13                        the safety of NEAL’s victims.

                 14                   g.      On the rare occasion the DEPARTMENT did respond, the sheriff’s

                 15                        office would attempt to reach NEAL by phone and give up if there was no

                 16                        answer, or visit the scene and if it was “quiet” when the sheriff arrived,

                 17                        would not pursue it further, stating that they would have to witness shots

                 18                        fired, in order to do anything, even though NEAL was not allowed to have a

                 19                        firearm or any kind of ammunition and his property was littered with shell

                 20                        casings, bullet holes and ammunition.

                 21                   h.      Defendants Sheriff DAVE HENCRATT, PHILL JOHNSTON and other

                 22                        employees of Tehama Sheriff’s Office, and the County of Tehama actively

                 23                        refused to get a search warrant because of lack of training and a clear

                 24                        misunderstanding of, or, willful disregard of, the law, with Defendants

                 25                        Sheriff DAVE HENCRATT, and the Tehama Sheriff’s Office, stating that

                 26                        the Defendant department could not obtain a warrant for NEAL after a

                 27                        criminal protective order was issued and multiple complaints of gunfire from

                 28                        his home were reported by multiple parties, because the department “has to
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                 1                             prove to a judge that there is no doubt that this person is firing a gun” or

                 2                             actually witness the shooting occur, showing an obvious failure to train as

                 3                             this is not the legal standard to obtain a search warrant in any jurisdiction,

                 4                             especially California.

                 5                        i.      Ratifying the pattern, custom and practice of Tehama County Sheriff’s

                 6                             Office personnel of ignoring or refusing to respond to citizen complaints who

                 7                             ask for assistance from threats of violence to their life and safety, reports

                 8                             regarding violations of restraining orders, and/or threatening to arrest the

                 9                             persons requesting assistance.

                 10                       j.      Defendants, and each of them, were aware of the danger NEAL posed

                 11                            and acted with deliberately indifference even when residence and neighbors

                 12                            complained repeatedly about Neal shooting off rounds of gunfire from his

                 13                            home, despite a court order barring him from having firearms. Defendant

                 14                            JOHNSTON stated that NEAL did not answer his door to law enforcement

                 15                            and that defendants could not act even when NEAL was in clear violation of

                 16                            court orders because “The law is only for people who obey it”.

                 17               40.     This conduct by defendants, and each of them, created an atmosphere where

                 18        victims of crimes were too afraid to call law enforcement for fear of retaliation or for fear of

                 19        going to jail, or because they feared that NEAL would retaliate against them if he found out

                 20        and since the Sheriff’s Department refused to acknowledge, respond to, or even lodge those

                 21        calls into the database, there was little point in putting themselves in even more danger for no

                 22        reason. This resulted in a dangerous and lawless society where criminals did not need to

                 23        comply with California or Federal Laws because there would be no enforcement of said laws,

                 24        and no repercussions for said violations.

                 25               41.     Defendants COUNTY, DEPARTMENT, HENCRATT, JOHNSTON and their

                 26        employees and/or agents violated plaintiffs’ constitutional rights, grounded in the Fourteenth

                 27        Amendment’s Due Process Clause, to be free of state-created danger by all of the acts alleged in

                 28        paragraphs 35-43, and said violation was in part, a consequence of the custom, habits, training,
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                 1         policy or practice of defendants, and each of them, and the totally inadequate training regarding

                 2         the “plain view” doctrine, the law regarding the amount of proof required to apply for a search

                 3         warrant, the law regarding possession of firearms and ammunition, the law regarding when and

                 4         where individuals are allowed fire weapons, the law regarding illegal firearms, the law

                 5         regarding when an arrest/investigation is proper, the standard of probable cause, and when an

                 6         arrest is warranted.

                 7                 42.    Defendants COUNTY, DEPARTMENT, HENCRATT, JOHNSTON and their

                 8         employees and/or agents violated their mandatory duties in the manner in which they

                 9         investigated the complaints about NEAL, response to NEALS illegal possession of firearms and

                 10        ammunition in violation of the restraining order, and patrol and response to calls from the

                 11        community of Rancho Tehama, leaving the citizens in the area with essentially no law

                 12        enforcement at all.

                 13                43.    Plaintiffs are informed and believe and thereon allege that the carnage that

                 14        KEVIN NEAL caused on November 14, 2017, including the severe injuries to plaintiff Troy

                 15        McFadyen and decedent, MICHELLE MCFADYEN, could have been avoided if Sheriff

                 16        DAVE HENCRATT, and the Tehama Sheriff’s Office, and the County of Tehama had not

                 17        enhanced the danger to the plaintiffs (supra) making the plaintiffs more vulnerable to injury or

                 18        death (supra), and if they had not acted with deliberate indifference to a known and obvious

                 19        danger (supra).

                 20                                           FIRST CAUSE OF ACTION

                 21             VIOLATION OF DUE PROCESS UNDER THE 14 AMENDMENT, PURSUANTTH


                                                        TO 42 U.S.C. SECTION 1983
                 22             (As to Defendants County of Tehama, Tehama County Sheriffs’ Office, Sheriff Dave
                                                  Hencratt, Assistant Sheriff Phil Johnston)
                 23
                 24                Plaintiffs hereby incorporate by reference all preceding paragraphs as though set out in

                 25        full herein.

                 26                44.    Plaintiff TROY MCFADYEN and decedent MICHELLE MCFADYEN had a

                 27        clearly established, federally protected, interest in life, liberty and property, and procedural and

                 28        substantive due process right protected by the 14 Amendment to the United States Constitution,
                                                                             th




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                 1         to be free from governmental actor’s conduct that is deliberately indifferent to plaintiffs’

                 2         constitutionally protected interests which “shocks-the-conscience” of the courts.

                 3                45.     By engaging in the conduct set forth in paragraphs 35-43 above, defendants

                 4         COUNTY, DEPARTMENT, HENCRATT, JOHNSTON and their employees and/or agents,

                 5         while acting under color of the law, the course and scope of their employment, and pursuant to

                 6         the customs, policies, practices, wholly inadequate training and supervision of their department,

                 7         deprived plaintiff and decedent of their rights and privileges secured by the United States

                 8         Constitution and by other laws of the United States including those grounded in the Fourteenth

                 9         Amendment’s Due Process Clause, to be free of state-created danger, in violation of 42 U.S.C.

                 10        §1983, which caused plaintiff and decedent to suffer severe and permanent injuries.

                 11               46.     By their conduct, defendants, and each of them, demonstrated a reckless

                 12        disregard, conscious disregard or deliberate indifference to a known and obvious danger or risk

                 13        posed by defendant and needs of plaintiff/decedent and enhanced the danger to

                 14        plaintiff/decedent and made them more vulnerable to harm. Defendants, and each of their

                 15        conduct rises to a level that shocks the conscience.

                 16               47.     Plaintiffs are further informed and believe and thereon allege that, since the

                 17        DEPARTMENT detained plaintiff, TROY MCFADYEN and MICHELLE MCFADYEN after

                 18        they were shot by KEVIN NEAL, and they were not free to leave and were in the officer’s

                 19        custody. Therefore, there existed a “special relationship” between plaintiff TROY and decedent

                 20        MICHELLE and the officers at the point they detained them, for the purposes of establishing the

                 21        officers’ duty to act under 42 USC section 1983. After determining that TROY and MICHELLE

                 22        were victims, and not the shooter, the DEPARTMENT simply left them in the middle of the road

                 23        and refused to summon medical assistance. Defendants affirmative conduct placed

                 24        plaintiff/decedent in an even more dangerous situation and were deliberately indifferent to the

                 25        fact that plaintiff may suffer further injury or assault by being left in an open-shooter situation

                 26        and with severe medical injuries.

                 27               48.     As a direct, proximate, and foreseeable result of defendants’ conduct, plaintiff

                 28        TROY MCFADYEN suffered severe physical and mental and emotional pain, suffering and
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                 1         injury, as well as lost wages / profits, medical bills and expenses, and other special and general

                 2         damages, all in an amount to be proven and trial, as well as attorney’s fees and costs as set forth

                 3         in paragraphs 25-29 above.

                 4                 49.      As a further direct, proximate, and foreseeable result of defendants conduct,

                 5         MICHELLE MCFADYEN was fatally killed, causing TROY McFADYEN, PHILLIP BOW and

                 6         SIA BOW to suffer the loss of their spouse/mother, depriving plaintiffs of the care, comfort,

                 7         society and support of their loved one, MICHELLE MCFADYEN, and causing plaintiffs to

                 8         incur funeral and burial expenses, and retain counsel and incur legal fees in an amount subject to

                 9         proof at the time of trial of this matter, as set forth in paragraphs 31-34 above.

                 10                50.      Moreover, the conduct of said defendants, and each of them, was done with

                 11        deliberate indifference to plaintiffs’ physical safety, and were done intentionally, maliciously

                 12        recklessly, sadistically, oppressively, outrageously, and with deliberate indifference and a

                 13        reckless disregard of plaintiffs’ constitutional rights. Plaintiffs are entitled to an award of

                 14        punitive damages against said Defendants, and each of them, in an amount to be shown at trial.

                 15                51.      Plaintiffs are informed and believe and thereon allege that defendants, and each

                 16        of them, are in some other way responsible for conduct of which plaintiffs are unaware.

                 17        Plaintiffs will seek leave of Court to amend this complaint at such time as plaintiffs discover the

                 18        other conduct of said defendants constituting such liability.

                 19                                          SECOND CAUSE OF ACTION

                 20                                 VIOLATION OF EQUAL PROTECTION
                                    UNDER THE 14 AMENDMENT, PURSUANT TO 42 USC SECTION 1983
                                                       TH



                 21                                      (STATE CREATED DANGER)
                                (As to Defendants County of Tehama, Tehama County Sheriffs’ Office, Sheriff Dave
                 22                                Hencratt, Assistant Sheriff Phil Johnston)

                 23
                                   Plaintiffs hereby incorporate by reference all preceding paragraphs as though set out in
                 24
                           full herein.
                 25
                                   52.      42 U.S.C. section 1983 provides for civil liability for deprivation of any right,
                 26
                           privileges and immunities carried by the constitution and laws of the United States and the State
                 27
                           of California.
                 28
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                 1                53.     The Fourteenth Amendment of the United States Constitution prohibits a state or

                 2         state actor from depriving a person of equal protection under the law.

                 3                54.     By engaging in the conduct set forth in paragraphs 35-43 above, defendants

                 4         COUNTY, DEPARTMENT, HENCRATT, JOHNSTON and their employees and/or agents,

                 5         while acting under color of the law, the course and scope of their employment, and pursuant to

                 6         the customs, policies, practices, wholly inadequate training and supervision of their department,

                 7         deprived plaintiff and decedent of their rights and privileges secured by the United States

                 8         Constitution and by other laws of the United States including those grounded in the Fourteenth

                 9         Amendment’s Due Process Clause, to be free of state-created danger, in violation of 42 U.S.C.

                 10        §1983, which caused plaintiff and decedent to suffer severe and permanent injuries.

                 11               55.     More specifically, defendants’ conduct violated the Equal Protection Clause of

                 12        the Fourteenth Amendment to the United States Constitution as the conduct deprived plaintiff,

                 13        decedent, and residents of Rancho Tehama, of their Constitutional Rights and there is no

                 14        rational basis for defendants’ conduct.

                 15               56.     Plaintiffs are further informed and believe and thereon allege that, since the

                 16        DEPARTMENT detained plaintiff, TROY MCFADYEN and MICHELLE MCFADYEN after

                 17        they were shot by KEVIN NEAL, and they were not free to leave and were in the officer’s

                 18        custody. Therefore, there existed a “special relationship” between plaintiff TROY and decedent

                 19        MICHELLE and the officers at the point they detained them, for the purposes of establishing the

                 20        officers’ duty to act under 42 USC section 1983.           After determining that plaintiff TROY

                 21        McFADYEN and MICHELLE were victims, and not the shooter, the DEPARTMENT simply

                 22        left them in the middle of the road and refused to summon medical assistance. Defendants

                 23        affirmative conduct placed plaintiff/decedent in an even more dangerous situation and were

                 24        deliberately indifferent to the fact that plaintiff may suffer further injury or assault by being left

                 25        in an open-shooter situation and with severe medical injuries.

                 26               57.     By their conduct, defendants, and each of them, demonstrated a reckless

                 27        disregard, conscious disregard or deliberate indifference to a known and obvious danger or risk

                 28        posed by defendant and needs of plaintiffs and enhanced the danger to plaintiffs and made them
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                 1         more vulnerable to harm. Defendants, and each of their conduct rises to a level that shocks the

                 2         conscience., in violation of 42 U.S. Section 1983.

                 3                 58.     As a direct, proximate, and foreseeable result of defendants’ conduct, plaintiff

                 4         TROY MCFADYEN suffered severe physical and mental and emotional pain, suffering and

                 5         injury, as well as lost wages / profits, medical bills and expenses, and other special and general

                 6         damages, all in an amount to be proven and trial, as well as attorney’s fees and costs as set forth

                 7         in paragraphs 25-29 above.

                 8                 59.     As a further direct, proximate, and foreseeable result of defendants conduct,

                 9         MICHELLE MCFADYEN was fatally killed, causing TROY McFADYEN, PHILLIP BOW and

                 10        SIA BOW to suffer the loss of their spouse/mother, depriving plaintiffs of the care, comfort,

                 11        society and support of their loved one, MICHELLE MCFADYEN, and causing plaintiffs to

                 12        incur funeral and burial expenses, and retain counsel and incur legal fees in an amount subject to

                 13        proof at the time of trial of this matter, as set forth in paragraphs 31-34 above.

                 14                60.     Moreover, as the conduct of said Defendants, and each of them, was done with

                 15        deliberate indifference to plaintiffs physical safety, and were done intentionally, maliciously

                 16        recklessly, sadistically, oppressively, outrageously, and with deliberate indifference and a

                 17        reckless disregard of plaintiff’s constitutional rights, Plaintiffs are entitled to an award of

                 18        punitive damages against said Defendants, and each of them, in an amount to be shown at trial.

                 19                61.     Plaintiffs are informed and believe and thereon allege that defendants, and each

                 20        of them, are in some other way responsible for conduct of which plaintiffs are unaware.

                 21        Plaintiffs will seek leave of Court to amend this complaint at such time as plaintiffs discover the

                 22        other conduct of said defendants constituting such liability.

                 23                                           THIRD CAUSE OF ACTION

                 24               FAILURE TO TRAIN/SUPERVISE, AND RATIFICATION OF PROCEDURES
                                                   IN VIOLATION OF 42 USC SECTION 1983
                 25             (As to Defendants County Of Tehama, Tehama County Sheriffs’ Office, Sheriff Dave
                                                   Hencratt, Assistant Sheriff Phil Johnston)
                 26
                 27                        Plaintiffs hereby incorporate by reference all preceding paragraphs as though set

                 28        out in full herein.
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                 1                62.     By engaging in the conduct set forth in paragraphs 35-43 above, defendants

                 2         COUNTY, DEPARTMENT, HENCRATT, JOHNSTON and their employees and/or agents,

                 3         while acting under color of the law, the course and scope of their employment, and pursuant to

                 4         the customs, policies, practices, wholly inadequate training and supervision of their department,

                 5         deprived plaintiff and decedent of their rights and privileges secured by the United States

                 6         Constitution and by other laws of the United States including those grounded in the Fourteenth

                 7         Amendment’s Due Process Clause, to be free of state-created danger, in violation of 42 U.S.C.

                 8         §1983, which caused plaintiff and decedent to suffer severe and permanent injuries.

                 9                63.     More specifically, plaintiffs are informed and believe and thereon allege, that the

                 10        Defendants, and each of them, failed to adequately train its employees and/or agents on the

                 11        “plain view” doctrine, how to respond to violations of restraining orders, obtain search

                 12        warrants, and protect its citizens from known threats of danger.

                 13               64.     Plaintiffs are further informed and believe and thereon allege that, since the

                 14        DEPARTMENT detained plaintiff, TROY MCFADYEN and MICHELLE MCFADYEN after

                 15        they were shot by KEVIN NEAL, and they were not free to leave and were in the officer’s

                 16        custody. Therefore, there existed a “special relationship” between plaintiff TROY and decedent

                 17        MICHELLE and the officers at the point they detained them, for the purposes of establishing the

                 18        officers’ duty to act under 42 USC section 1983.           After determining that plaintiff TROY

                 19        McFADYEN and MICHELLE were victims, and not the shooter, the DEPARTMENT simply

                 20        left them in the middle of the road and refused to summon medical assistance. Defendants

                 21        affirmative conduct placed plaintiff/decedent in an even more dangerous situation and were

                 22        deliberately indifferent to the fact that plaintiff may suffer further injury or assault by being left

                 23        in an open-shooter situation and with severe medical injuries.

                 24               65.     By failing to train and/or supervise its employees and/or agents, defendants, and

                 25        each of them, acted with and demonstrated a reckless disregard, conscious disregard or

                 26        deliberate indifference to a known and obvious danger or risk posed by defendant and needs of

                 27        plaintiffs and enhanced the danger to plaintiffs and made them more vulnerable to harm.

                 28        Defendants, and each of their conduct rises to a level that shocks the conscience, in violation of
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                 1         42 U.S. Section 1983.

                 2                66.     The failure to train and/or supervise by defendants, and each of them, constitute

                 3         a violation of plaintiffs’ constitutional rights, pursuant to the substantive due process clauses of

                 4         the Fourteenth Amendment.

                 5                67.     Further, Plaintiffs are informed and believe and thereon allege, that the

                 6         Defendants, and each of them, ratified its employees conduct as outlined in paragraphs 35-43.

                 7                68.     As a direct, proximate, and foreseeable result of defendants’ conduct, plaintiff

                 8         TROY MCFADYEN suffered severe physical and mental and emotional pain, suffering and

                 9         injury, as well as lost wages / profits, medical bills and expenses, and other special and general

                 10        damages, all in an amount to be proven and trial, as well as attorney’s fees and costs as set forth

                 11        in paragraphs 25-29 above.

                 12               69.     As a further direct, proximate, and foreseeable result of defendants conduct,

                 13        MICHELLE MCFADYEN was fatally killed, causing TROY McFADYEN, PHILLIP BOW and

                 14        SIA BOW to suffer the loss of their spouse/mother, depriving plaintiffs of the care, comfort,

                 15        society and support of their loved one, MICHELLE MCFADYEN, and causing plaintiffs to

                 16        incur funeral and burial expenses, and retain counsel and incur legal fees in an amount subject to

                 17        proof at the time of trial of this matter, as set forth in paragraphs 31-34 above.

                 18               70.     Moreover, as the conduct of said Defendants, and each of them, was done with

                 19        deliberate indifference to plaintiff and decedent’s physical safety, and were done intentionally,

                 20        maliciously recklessly, sadistically, oppressively, outrageously, and with deliberate indifference

                 21        and a reckless disregard of plaintiff’s constitutional rights, Plaintiffs are entitled to an award of

                 22        punitive damages against said Defendants, and each of them, in an amount to be shown at trial.

                 23               71.     Plaintiffs are informed and believe and thereon allege that defendants, and each

                 24        of them, are in some other way responsible for conduct of which plaintiffs are unaware.

                 25        Plaintiffs will seek leave of Court to amend this complaint at such time as plaintiffs discover the

                 26        other conduct of said defendants constituting such liability.

                 27                                          FOURTH CAUSE OF ACTION

                 28                     CONSPIRCY TO DEPRIVE PERSON OF RIGHTS OR PRIVILEGES
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                 1                                 IN VIOLATION OF 42 USC SECTION 1985
                                (As to Defendants County Of Tehama, Tehama County Sheriffs’ Office, Sheriff Dave
                 2                                 Hencratt, Assistant Sheriff Phil Johnston)

                 3
                                   Plaintiffs hereby incorporate by reference all preceding paragraphs as though set out in
                 4
                           full herein.
                 5
                                   72.    42 U.S.C. Section 1985(2) prohibits two or more persons from conspiring for the
                 6
                           purpose of impeding, hindering, obstruction, or defeating, in any manner, the due course of
                 7
                           justice in any State, with the intent to deny to any citizen the equal protection of the laws, for
                 8
                           lawfully enforcing, or attempting or enforce, the right of any person, to the equal protection to
                 9
                           the laws.
                 10
                                   73.    By engaging in the acts set forth in paragraphs 35-43 above, defendants, and
                 11
                           each of them, while acting under the color of law and in the course and scope of their
                 12
                           employment, did conspire to deprive plaintiff and decedent of their rights, privileges and
                 13
                           immunities secured by the Constitution of the United States, including the 14th Amendment’s
                 14
                           right to due process and equal protection under the laws, and did in fact deprive plaintiff,
                 15
                           decedent, and others, either directly or indirectly, equal protection of the laws, or of equal
                 16
                           privileges and immunities under the laws, including the right to be free of state-created danger.
                 17
                                   74.    As a direct, proximate, and foreseeable result of defendants’ conduct, plaintiff
                 18
                           TROY MCFADYEN suffered severe physical and mental and emotional pain, suffering and
                 19
                           injury, as well as lost wages / profits, medical bills and expenses, and other special and general
                 20
                           damages, all in an amount to be proven and trial, as well as attorney’s fees and costs as set forth
                 21
                           in paragraphs 25-29 above.
                 22
                                   75.    As a further direct, proximate, and foreseeable result of defendants conduct,
                 23
                           MICHELLE MCFADYEN was fatally killed, causing TROY McFADYEN, PHILLIP BOW and
                 24
                           SIA BOW to suffer the loss of their spouse/mother, depriving plaintiffs of the care, comfort,
                 25
                           society and support of their loved one, MICHELLE MCFADYEN, and causing plaintiffs to
                 26
                           incur funeral and burial expenses, and retain counsel and incur legal fees in an amount subject to
                 27
                           proof at the time of trial of this matter, as set forth in paragraphs 31-34 above.
                 28
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                 1                 76.    Moreover, as the conduct of said Defendants, and each of them, was done with

                 2         deliberate indifference to plaintiffs physical safety, and were done intentionally, maliciously

                 3         recklessly, sadistically, oppressively, outrageously, and with deliberate indifference and a

                 4         reckless disregard of plaintiff’s constitutional rights, Plaintiffs are entitled to an award of

                 5         punitive damages against said Defendants, and each of them, in an amount to be shown at trial.

                 6                 77.    Plaintiffs are informed and believe and thereon allege that defendants, and each

                 7         of them, are in some other way responsible for acts of conspiracy of which plaintiffs are

                 8         unaware. Plaintiffs will seek leave of Court to amend this complaint at such time as plaintiffs

                 9         discover the other conduct of said defendants constituting such liability.

                 10                                           FIFTH CAUSE OF ACTION

                 11                                  CONSPIRCY TO OBSTRUCT JUSTICE
                                                   IN VIOLATION OF 42 USC SECTION 1985
                 12             (As to Defendants County Of Tehama, Tehama County Sheriffs’ Office, Sheriff Dave
                                                   Hencratt, Assistant Sheriff Phil Johnston)
                 13
                 14                Plaintiffs hereby incorporate by reference all preceding paragraphs as though set out in

                 15        full herein.

                 16                78.    42 U.S.C. Section 1985(2) prohibits two or more persons from conspiring for the

                 17        purpose of impeding, hindering, obstruction, or defeating, in any manner, the due course of

                 18        justice in any State, with the intent to deny to any citizen the equal protection of the laws, for

                 19        lawfully enforcing, or attempting or enforce, the right of any person, to the equal protection to

                 20        the laws.

                 21                79.    By engaging in the acts set forth in paragraphs 35-43 above, defendants, and

                 22        each of them, while acting under the color of law and in the course and scope of their

                 23        employment, conspired for the purpose of impeding, hindering, obstructing, or defeating, the

                 24        due course of justice, with intent to deny plaintiff, decedent, and others, the equal protection of

                 25        the laws, or to injure plaintiff, decedent, and others, for lawfully enforcing, or attempting to

                 26        enforce, the right of any person, or class of persons, to the equal protection of the laws,

                 27        including the right to be free of state-created danger.

                 28                80.    As a direct, proximate, and foreseeable result of defendants’ conduct, plaintiff
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                 1         TROY MCFADYEN suffered severe physical and mental and emotional pain, suffering and

                 2         injury, as well as lost wages / profits, medical bills and expenses, and other special and general

                 3         damages, all in an amount to be proven and trial, as well as attorney’s fees and costs as set forth

                 4         in paragraphs 25-29 above.

                 5                 81.    As a further direct, proximate, and foreseeable result of defendants conduct,

                 6         MICHELLE MCFADYEN was fatally killed, causing TROY McFADYEN, PHILLIP BOW and

                 7         SIA BOW to suffer the loss of their spouse/mother, depriving plaintiffs of the care, comfort,

                 8         society and support of their loved one, MICHELLE MCFADYEN, and causing plaintiffs to

                 9         incur funeral and burial expenses, and retain counsel and incur legal fees in an amount subject to

                 10        proof at the time of trial of this matter, as set forth in paragraphs 31-34 above.

                 11                82.    Moreover, as the conduct of said Defendants, and each of them, was done with

                 12        deliberate indifference to plaintiff and decedent’s physical safety, and were done intentionally,

                 13        maliciously recklessly, sadistically, oppressively, outrageously, and with deliberate indifference

                 14        and a reckless disregard of plaintiff’s constitutional rights, Plaintiffs are entitled to an award of

                 15        punitive damages against said Defendants, and each of them, in an amount to be shown at trial.

                 16                83.    Plaintiffs are informed and believe and thereon allege that defendants, and each

                 17        of them, are in some other way responsible for acts of conspiracy of which plaintiffs are

                 18        unaware. Plaintiffs will seek leave of Court to amend this complaint at such time as plaintiffs

                 19        discover the other conduct of said defendants constituting such liability.

                 20                                           SIXTH CAUSE OF ACTION

                 21                                    NEGLECT TO PREVENT HARM
                                                   IN VIOLATION OF 42 USC SECTION 1986
                 22             (As to Defendants County Of Tehama, Tehama County Sheriffs’ Office, Sheriff Dave
                                                   Hencratt, Assistant Sheriff Phil Johnston)
                 23
                 24                Plaintiffs hereby incorporate by reference all preceding paragraphs as though set out in

                 25        full herein.

                 26                84.    Pursuant to 42 U.S.C. §1986, every person who has knowledge of the wrongs

                 27        conspired to be done, including but not limited to, a conspiracy to deprive others of their rights

                 28        or privileges or conspiracy to obstruct justice, and has the power to prevent or aid in preventing
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                 1         the commission of the same, but neglects or refuses so to do, shall be liable to the party injured

                 2         for all damages caused by such wrongful act, which such person by reasonable diligence could

                 3         have prevented.

                 4                85.     At all times pertinent hereto, defendants and each of them, had the actual

                 5         knowledge of a known and obvious danger posed by Kevin Neal, and had knowledge of the

                 6         conspiracy to obstruct justice and/or prevent persons in Rancho Tehama, including plaintiff and

                 7         decedent, from exercising their legal rights or privileges. Further, defendants and each of them,

                 8         had the power to prevent the crimes and harm caused by NEAL from being committed, or

                 9         prevent the other defendants from depriving plaintiffs of their rights and privileges or prevent

                 10        the obstruction of justice, but refused and neglected to prevent said wrongs from being

                 11        committed and are therefore liable to plaintiff and decedent under Title 42 USC section 1986.

                 12               86.     By engaging in the conduct set forth in paragraphs 35-43 above, defendants

                 13        COUNTY, DEPARTMENT, HENCRATT, JOHNSTON and their employees and/or agents,

                 14        while acting under color of the law, the course and scope of their employment, and pursuant to

                 15        the customs, policies, practices, wholly inadequate training and supervision of their department,

                 16        engaged in affirmative conduct that subjected plaintiff and decedent to new or increased danger,

                 17        and deprived plaintiff and decedent of their rights, privileges and immunities secured by the

                 18        Constitution of the United States, including the 14th Amendments.

                 19               87.     More specifically, plaintiffs are informed and believe and thereon allege, that the

                 20        Defendants, and each of them, failed to adequately train its employees and/or agents on the

                 21        “plain view” doctrine, how to respond to violations of restraining orders, obtain search

                 22        warrants, and protect its citizens from known threats of danger.

                 23               88.     As a direct, proximate, and foreseeable result of defendants’ conduct, plaintiff

                 24        TROY MCFADYEN suffered severe physical and mental and emotional pain, suffering and

                 25        injury, as well as lost wages / profits, medical bills and expenses, and other special and general

                 26        damages, all in an amount to be proven and trial, as well as attorney’s fees and costs as set forth

                 27        in paragraphs 25-29 above.

                 28               89.     As a further direct, proximate, and foreseeable result of defendants conduct,
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                 1         MICHELLE MCFADYEN was fatally killed, causing TROY McFADYEN, PHILLIP BOW and

                 2         SIA BOW to suffer the loss of their spouse/mother, depriving plaintiffs of the care, comfort,

                 3         society and support of their loved one, MICHELLE MCFADYEN, and causing plaintiffs to

                 4         incur funeral and burial expenses, and retain counsel and incur legal fees in an amount subject to

                 5         proof at the time of trial of this matter, as set forth in paragraphs 31-34 above.

                 6                 90.    Moreover, as the conduct of said Defendants, and each of them, was done with

                 7         deliberate indifference to plaintiffs physical safety, and were done intentionally, maliciously

                 8         recklessly, sadistically, oppressively, outrageously, and with deliberate indifference and a

                 9         reckless disregard of plaintiff’s constitutional rights, Plaintiffs are entitled to an award of

                 10        punitive damages against said Defendants, and each of them, in an amount to be shown at trial.

                 11                91.    Plaintiffs are informed and believe and thereon allege that defendants, and each

                 12        of them, are in some other way responsible for acts of which plaintiffs are unaware. Plaintiffs

                 13        will seek leave of Court to amend this complaint at such time as plaintiffs discover the other

                 14        conduct of said defendants constituting such liability.

                 15                                         SEVENTH CAUSE OF ACTION

                 16               VIOLATION OF 8 AMENDMENT, CRUEL AND UNUSUAL PUNISHMENT,
                                                       TH


                                                       VIOLATION OF 42 USC 1983
                 17             (As to Defendants County Of Tehama, Tehama County Sheriffs’ Office, Sheriff Dave
                                                   Hencratt, Assistant Sheriff Phil Johnston)
                 18
                 19                Plaintiffs hereby incorporate by reference all preceding paragraphs as though set out in

                 20        full herein.

                 21                92.    Plaintiffs TROY and MICHELLE MCFADYEN were detained by defendant

                 22        COUNTY’s employees and/or agents on or about November 14, 2017. At the time and place

                 23        aforesaid, defendants, and each of them, deprived plaintiffs of their clearly established rights to

                 24        adequate medical treatment based on their special relationship with defendants as a detainees.

                 25                93.    Defendants, and each of their, deliberate decision to abandon plaintiff and

                 26        decedent in the the road, suffering from being shot, after detaining plaintiff and decedent, was

                 27        done with deliberate indifference and reckless disregard to the life, safety and constitutional

                 28        rights of TROY and MICHELLE MCFADYEN and their conduct created or increased the
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                 1         danger to TROY and MICHELLE MCFADYEN.

                 2                94.     Defendants, and each of their conduct, was done with deliberate indifference to

                 3         the constitutional rights of plaintiffs, were cruel and unusual, inflicted unnecessary pain and

                 4         emotional distress of plaintiff, and decedent, and violated their rights under the Eighth

                 5         Amendment of the United States Constitution.

                 6                95.     A public entity is liable for failing to adequately train and supervise its

                 7         employees where their conduct amounts to deliberate indifference to a constitutional right.

                 8         Plaintiffs are informed and believe and thereon allege that the Tehama County, the Tehama

                 9         County Sheriff’s Office and Sheriff Dave Hencratt, and its agents or employees violated

                 10        plaintiffs’ constitutional rights, grounded in the Eighth Amendment right to be free of cruel and

                 11        unusual punishment by failing to train its officers on proper protocols for providing medical

                 12        attention to detainees, how to properly respond to credible reports of violence, and how to treat

                 13        victims who are in need of medical care.          Defendant’s misunderstanding of, or reckless

                 14        disregard for, the law, is such that normal law enforcement protocol was either intentionally

                 15        disregarded, or was unknown to defendant department so that it could not be conducted.

                 16               96.     As a direct, proximate, and foreseeable result of defendants’ conduct, plaintiff

                 17        TROY MCFADYEN suffered severe physical and mental and emotional pain, suffering and

                 18        injury, as well as lost wages / profits, medical bills and expenses, and other special and general

                 19        damages, all in an amount to be proven and trial, as well as attorney’s fees and costs as set forth

                 20        in paragraphs 25-29 above.

                 21               97.     As a further direct, proximate, and foreseeable result of defendants conduct,

                 22        MICHELLE MCFADYEN was fatally killed, causing TROY McFADYEN, PHILLIP BOW and

                 23        SIA BOW to suffer the loss of their spouse/mother, depriving plaintiffs of the care, comfort,

                 24        society and support of their loved one, MICHELLE MCFADYEN, and causing plaintiffs to

                 25        incur funeral and burial expenses, and retain counsel and incur legal fees in an amount subject to

                 26        proof at the time of trial of this matter, as set forth in paragraphs 31-34 above.

                 27               98.     Moreover, as the conduct of said Defendants, and each of them, was done with

                 28        deliberate indifference to plaintiffs physical safety, and were done intentionally, maliciously
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                 1         recklessly, sadistically, oppressively, outrageously, and with deliberate indifference and a

                 2         reckless disregard of plaintiff’s constitutional rights, Plaintiffs are entitled to an award of

                 3         punitive damages against said Defendants, and each of them, in an amount to be shown at trial.

                 4                 99.    Plaintiffs are informed and believe and thereon allege that defendants, and each

                 5         of them, are in some other way responsible for acts of which plaintiffs are unaware. Plaintiffs

                 6         will seek leave of Court to amend this complaint at such time as plaintiffs discover the other

                 7         conduct of said defendants constituting such liability.

                 8                                           EIGHTH CAUSE OF ACTION

                 9             VIOLATION OF 4 AMENDMENT, UNLAWFUL DETENTION / FALSE ARREST,
                                                     TH


                                                       VIOLATION OF 42 USC 1983
                 10                                       (As to Troy McFadyen only)
                                (As to Defendants County Of Tehama, Tehama County Sheriffs’ Office, Sheriff Dave
                 11                                Hencratt, Assistant Sheriff Phil Johnston)

                 12
                                   Plaintiffs hereby incorporate by reference all preceding paragraphs as though set out in
                 13
                           full herein.
                 14
                                   100.   The 4 Amendment of the United States Constitution which guarantees “[t]he
                                                th



                 15
                           right of the people to be secure in their persons, houses, papers, and effects, against
                 16
                           unreasonable searches and seizures” and the requirement that these rights “shall not be violated,
                 17
                           and no Warrants shall issue, but upon probable cause, supported by Oath or affirmation, and
                 18
                           particularly describing the place to be searched, and the persons or things to be seized.”
                 19
                                   101.   At all times pertinent hereto, plaintiff TROY McFADYEN had the constitutional
                 20
                           right to be free from unlawful detention and false arrest, under the 4 Amendment, and the right
                                                                                                 th



                 21
                           to equal protection and due process under the 8 Amendment of the United States Constitution.
                                                                           th



                 22
                                   102.   On or about November 14, 2017, defendant sheriff department’s officers or
                 23
                           agents wrongfully deprived plaintiff of his constitutional rights to be free from unlawful
                 24
                           detention and false arrest by detaining and falsely arresting plaintiff TROY McFADYEN
                 25
                           without a warrant or probable cause or other constitutionally adequate provision.
                 26
                                   103.   Plaintiff is further informed and believes and thereon alleges that defendant
                 27
                           COUNTY and Sheriff’s department, deprived Plaintiff TROY MCFADYEN of his rights under
                 28
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                 1         the United States Constitution to be free from unlawful detention and false arrest and right to

                 2         due process contained in the 4 Amendment and 8 Amendment of the United States
                                                                th                     th




                 3         Constitution, in violation of 42 USC 1983, by implementing or executing a policy statement,

                 4         ordinance, regulation, decision, custom or usage that permitted its employees and agents, i.e.,

                 5         Defendant officers, to detain and falsely arrest Plaintiff without any probable cause.

                 6                104.    At all times pertinent hereto, defendants, and each of them, were state actors,

                 7         acting under the color of law.

                 8                105.    As a direct, proximate, and foreseeable result of defendants conduct, plaintiff

                 9         TROY McFADYEN suffered severe physical and mental and emotional pain, suffering and

                 10        injury, as well as lost wages / profits, medical bills and expenses, and other special and general

                 11        damages, all in an amount to be proven and trial, as well as attorney’s fees and costs as set forth

                 12        in paragraphs 25-29 above.

                 13               106.    Moreover, as the conduct of said Defendants, and each of them, was done with

                 14        deliberate indifference to plaintiffs physical safety, and were done intentionally, maliciously

                 15        recklessly, sadistically, oppressively, outrageously, and with deliberate indifference and a

                 16        reckless disregard of plaintiff’s constitutional rights, Plaintiff is entitled to an award of punitive

                 17        damages against said Defendants, and each of them, in an amount to be shown at trial.

                 18               107.    Plaintiffs are informed and believe and thereon allege that defendants, and each

                 19        of them, are in some other way responsible for acts of which plaintiffs are unaware. Plaintiffs

                 20        will seek leave of Court to amend this complaint at such time as plaintiffs discover the other

                 21        conduct of said defendants constituting such liability.

                 22               Additional STATE causes of action against the County defendants, brought

                 23        pursuant to 28 U.S.C. §1367:

                 24                                           NINETH CAUSE OF ACTION

                 25                        VIOLATION OF GOVERNMENT CODE SECTION 815.6
                                             (VIOLATION OF PENAL CODE 836(A) AND (C)(1))
                 26            (As to Defendants County Of Tehama, Tehama County Sheriffs’ Office, Sheriff Dave
                                                  Hencratt, Assistant Sheriff Phil Johnston)
                 27
                 28               Plaintiffs hereby incorporate by reference all preceding paragraphs as though set out in
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                 1         full herein.

                 2                 108.   The California Tort’s Claims Act provides a party with an independent legal

                 3         basis to recover damages against a public entity for its failure to properly discharge a mandatory

                 4         duty.

                 5                 109.   Government Code section 815.6 provides “[w]here a public entity is under a

                 6         mandatory duty imposed by an enactment that is designed to protect against the risk of a

                 7         particular kind of injury, the public entity is liable for an injury of the kind proximately caused

                 8         by its failure to discharge the duty unless the public entity establishes that it exercised

                 9         reasonable diligence to discharge the duty.”

                 10                110.   Penal Code section 836(a) provides that [a] peace officer may arrest a person in

                 11        obedience to a warrant, or, pursuant to the authority granted to him or her by Chapter 4.5

                 12        (commencing with Section 830) of Title 3 of Part 2, without a warrant, may arrest a person

                 13        whenever any of the following circumstances occur: (1) The officer has probable cause to

                 14        believe that the person to be arrested has committed a public offense in the officer's presence.

                 15        (2) The person arrested has committed a felony, although not in the officer's presence. (3) The

                 16        officer has probable cause to believe that the person to be arrested has committed a felony,

                 17        whether or not a felony, in fact, has been committed.”

                 18                111.   Penal Code section 836(c)(1) provides that “[w]hen a peace officer is responding

                 19        to a call alleging a violation of a . . . or restraining order issued . . . and the peace officer has

                 20        probable cause to believe that the person against whom the order is issued has notice of the

                 21        order and has committed an act in violation of the order, the officer shall, consistent

                 22        with subdivision (b) of Section 13701, make a lawful arrest of the person without a warrant

                 23        and take that person into custody whether or not the violation occurred in the presence of

                 24        the arresting officer…” (emphasis added.) Further, the Civil Harassment Restraining Order

                 25        After Hearing (CLETS-CHO), judicial council form CH-130, instructs law enforcement that

                 26        “an arrest is required if [the] Order is violated” stating, “If an officer has probable cause to

                 27        believe that the restrained person had notice of the order and has disobeyed it, the officer must

                 28        arrest the restrained person.”
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                 1                112.    Defendants, and each of them, had a mandatory duty to arrest KEVIN NEAL

                 2         upon probable cause leading them to believe that he violated any restraining order issued

                 3         against him pursuant to Penal Code section 836(c)(1).              Pursuant to Government Code

                 4         section 815.6, defendants, and each of them, had a duty to “exercise reasonable diligence to

                 5         discharge [that] duty.”

                 6                113.    As set forth in paragraphs 35-43 above, defendants, and each of them, breached

                 7         its mandatory duties by acting with deliberate indifference in refusing to take any action to

                 8         arrest NEAL despite ammunition littering NEAL’s property in plain view from the road,

                 9         repeated complaints that NEAL was in possession of and was discharging firearms, in direct

                 10        violation of the April 7, 2017 restraining order and criminal protective order, in violation of

                 11        defendant’s mandatory obligations under Penal Code section 836, and it is clear that the training

                 12        and supervision as to the legal requirements for seizing contraband in plain view, obtaining a

                 13        search warrant or making an arrest for violation of a restraining order were either unknown to

                 14        defendants or were deliberately disregarded.

                 15               114.    As a direct, proximate, and foreseeable result of defendants’ conduct, plaintiff

                 16        TROY MCFADYEN suffered severe physical and mental and emotional pain, suffering and

                 17        injury, as well as lost wages / profits, medical bills and expenses, and other special and general

                 18        damages, all in an amount to be proven and trial, as well as attorney’s fees and costs as set forth

                 19        in paragraphs 25-29 above.

                 20               115.    As a further direct, proximate, and foreseeable result of defendants conduct,

                 21        MICHELLE MCFADYEN was fatally killed, causing TROY McFADYEN, PHILLIP BOW and

                 22        SIA BOW to suffer the loss of their spouse/mother, depriving plaintiffs of the care, comfort,

                 23        society and support of their loved one, MICHELLE MCFADYEN, and causing plaintiffs to

                 24        incur funeral and burial expenses, and retain counsel and incur legal fees in an amount subject to

                 25        proof at the time of trial of this matter, as set forth in paragraphs 31-34 above.

                 26               116.    Defendants, and each of their, failure to perform its mandatory duties under the

                 27        law was a substantial factor in causing plaintiff’s harm.

                 28               117.    Plaintiffs are informed and believe and thereon allege that defendants, and each
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                 1         of them, are in some other way breached other mandatory duties of which plaintiffs are

                 2         unaware. Plaintiffs will seek leave of Court to amend this complaint at such time as plaintiffs

                 3         discover the other conduct of said defendants constituting such liability.

                 4                                            TENTH CAUSE OF ACTION

                 5                                      VIOLATION OF CIVIL CODE 52.1
                                  (As to Defendants County Of Tehama, Tehama County Sheriffs’ Office, Sheriff Dave
                 6                                   Hencratt, Assistant Sheriff Phil Johnston)

                 7
                                    Plaintiffs hereby incorporate by reference all preceding paragraphs as though set out in
                 8
                           full herein.
                 9
                                    118.   California Civil Code section 51.2 provides that “[a]ny individual whose
                 10
                           exercise or enjoyment of rights secured by the Constitution or laws of the United States, or of
                 11
                           rights secured by the Constitution or laws of this state, has been interfered with, or attempted to
                 12
                           be interfered with, as described in subdivision (a), may institute and prosecute in his or her own
                 13
                           name and on his or her own behalf a civil action for damages, including, but not limited to,
                 14
                           damages under Section 52, injunctive relief, and other appropriate equitable relief to protect the
                 15
                           peaceable exercise or enjoyment of the right or rights secured, including appropriate equitable
                 16
                           and declaratory relief to eliminate a pattern or practice of conduct as described in subdivision
                 17
                           (a).
                 18
                                    119.   The acts of defendants, and each of them, as set forth in paragraphs 35-43 above,
                 19
                           constitute a violation of California Civil Code section 51.2, and amount to a pattern or practice
                 20
                           of conduct of acting with deliberate indifference to a known and obvious danger.
                 21
                                    120.    Defendant County is liable for the acts of its employees and/or agents pursuant
                 22
                           to Cal. Gov. Code § 815.2.
                 23
                                    121.   As a direct, proximate, and foreseeable result of defendants’ conduct, plaintiff
                 24
                           TROY MCFADYEN suffered severe physical and mental and emotional pain, suffering and
                 25
                           injury, as well as lost wages / profits, medical bills and expenses, and other special and general
                 26
                           damages, all in an amount to be proven and trial, as well as attorney’s fees and costs as set forth
                 27
                           in paragraphs 25-29 above.
                 28
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                 1                 122.   As a further direct, proximate, and foreseeable result of defendants conduct,

                 2         MICHELLE MCFADYEN was fatally killed, causing TROY McFADYEN, PHILLIP BOW and

                 3         SIA BOW to suffer the loss of their spouse/mother, depriving plaintiffs of the care, comfort,

                 4         society and support of their loved one, MICHELLE MCFADYEN, and causing plaintiffs to

                 5         incur funeral and burial expenses, and retain counsel and incur legal fees in an amount subject to

                 6         proof at the time of trial of this matter, as set forth in paragraphs 31-34 above.

                 7                 123.   Moreover, as the conduct of said Defendants, and each of them, was done with

                 8         deliberate indifference to plaintiffs’ physical safety, and were done intentionally, maliciously

                 9         recklessly, sadistically, oppressively, outrageously, and with deliberate indifference and a

                 10        reckless disregard of plaintiff’s constitutional rights, Plaintiff is entitled to an award of punitive

                 11        damages against said Defendants, and each of them, in an amount to be shown at trial.

                 12                124.   Plaintiffs are informed and believe and thereon allege that defendants, and each

                 13        of them, are in some other way responsible for acts of which plaintiffs are unaware. Plaintiffs

                 14        will seek leave of Court to amend this complaint at such time as plaintiffs discover the other

                 15        conduct of said defendants constituting such liability.

                 16                                         ELEVENTH CAUSE OF ACTION

                 17              NEGLIGENT SUPERVISION, TRAINING, RETENTION AND RATIFICATION
                                (As to Defendants County Of Tehama, Tehama County Sheriffs’ Office, Sheriff Dave
                 18                                Hencratt, Assistant Sheriff Phil Johnston)

                 19
                                   Plaintiffs hereby incorporate by reference all preceding paragraphs as though set out in
                 20
                           full herein.
                 21
                                   125.   Defendants, and each of them, had a duty to Plaintiffs as members of the public
                 22
                           to hire personnel who had proper qualifications, experience, and character to lawfully perform
                 23
                           the duties of law enforcement personnel toward the public and to supervise, train, retain and
                 24
                           ratify only that conduct that ensures that such personnel comply with the lawful performance of
                 25
                           such duties.
                 26
                                   126.   Defendants, and each of them, breached such duty of care to Plaintiffs by
                 27
                           negligently supervising, training and retaining the Tehama County law enforcement personnel,
                 28
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                 1         so as to permit them to engage in the conduct set forth in paragraphs 35-43.

                 2                 127.   Defendants, and each of their, unlawful policies, customs and habits of improper

                 3         and inadequate hiring, training, retention, discipline and supervision of its employees and

                 4         agents, proximately resulted in the constitutional deprivations, injuries and damages alleged in

                 5         this case.

                 6                 128.   Plaintiffs are informed and believe that other citizens have been treated

                 7         unlawfully and abused by defendants, and each of them, through its custom, policy or practice

                 8         of failing to properly investigate citizen complaints, threatening reporting parties with jailtime

                 9         or arrest for calling the department, refusing to respond to and investigate complaints

                 10        surrounding violations of restraining orders, and failing to take corrective or disciplinary action

                 11        against deputies who act improperly, thus leading to the constitutional violations against

                 12        Plaintiffs as described herein.

                 13                129.   Plaintiffs are informed and believe that defendants, and each of them, has a

                 14        habit, custom, policy and/or practice of ratifying such wrongful conduct, and in fact permitting,

                 15        condoning, and/or failing to take action against deputies who commit acts in violation of state,

                 16        federal and constitutional rights and privileges.

                 17                130.   As a direct, proximate, and foreseeable result of defendants’ conduct, plaintiff

                 18        TROY MCFADYEN suffered severe physical and mental and emotional pain, suffering and

                 19        injury, as well as lost wages / profits, medical bills and expenses, and other special and general

                 20        damages, all in an amount to be proven and trial, as well as attorney’s fees and costs as set forth

                 21        in paragraphs 25-29 above.

                 22                131.   As a further direct, proximate, and foreseeable result of defendants conduct,

                 23        MICHELLE MCFADYEN was fatally killed, causing TROY McFADYEN, PHILLIP BOW and

                 24        SIA BOW to suffer the loss of their spouse/mother, depriving plaintiffs of the care, comfort,

                 25        society and support of their loved one, MICHELLE MCFADYEN, and causing plaintiffs to

                 26        incur funeral and burial expenses, and retain counsel and incur legal fees in an amount subject to

                 27        proof at the time of trial of this matter, as set forth in paragraphs 31-34 above.

                 28                132.   Plaintiffs are informed and believe and thereon allege that defendants, and each
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                 1         of them, are in some other way responsible for acts of which plaintiffs are unaware. Plaintiffs

                 2         will seek leave of Court to amend this complaint at such time as plaintiffs discover the other

                 3         conduct of said defendants constituting such liability.

                 4                                          TWELFTH CAUSE OF ACTION

                 5                      NEGLIGENCE – VIOLATION OF GOVERNMENT CODE §815.2
                                (As to Defendants County Of Tehama, Tehama County Sheriffs’ Office, Sheriff Dave
                 6                                 Hencratt, Assistant Sheriff Phil Johnston)

                 7
                                   Plaintiffs hereby incorporate by reference all preceding paragraphs as though set out in
                 8
                           full herein.
                 9
                                   133.   Pursuant to Government Code section 815.2, subd. (a), a public entity is
                 10
                           vicariously liable for the tortious conduct of its employees committed within the scope of
                 11
                           employment under circumstances in which the employee would be personally liable for the
                 12
                           conduct. The effect of this statute is to incorporate general standards of tort liability as the
                 13
                           primary basis for respondeat superior liability of public entities.
                 14
                                   134.   The Tort Claims Act (Gov. Code, § 810 et seq.) expressly denies a public entity
                 15
                           the power to enact an ordinance abridging its statutory liabilities or expanding its statutory
                 16
                           immunities (Gov. Code, § § 811.2, 811.8, 815). Furthermore, an employee of a public entity is
                 17
                           liable for his torts to the same extent as a private person [Gov. Code, § 820, subd. (a)], and the
                 18
                           public entity is vicariously liable for any injury which its employee causes (Gov. Code, § 815.2,
                 19
                           subd. (a)) to the same extent as a private employer [Gov. Code, § 815, subd. (b)].
                 20
                                   135.   A public entity's programs and services, viewed in their entirety, must be equally
                 21
                           accessible to all persons.
                 22
                                   136.   Defendants, and each of them, failed in such duty, by engaging in the conduct set
                 23
                           forth in paragraphs 35-43, which deprived members of the public, including plaintiffs, with due
                 24
                           process and/or equal protection under the law.
                 25
                                   137.   Defendants, and each of them, knew or should have known that Plaintiffs’ rights
                 26
                           were being violated and/or that Plaintiffs were being placed at risk of serious harm by failing to
                 27
                           do grant them due process and/or equal protection under the law.
                 28
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                 1                 138.   As a direct, proximate, and foreseeable result of defendants’ conduct, plaintiff

                 2         TROY MCFADYEN suffered severe physical and mental and emotional pain, suffering and

                 3         injury, as well as lost wages / profits, medical bills and expenses, and other special and general

                 4         damages, all in an amount to be proven and trial, as well as attorney’s fees and costs as set forth

                 5         in paragraphs 25-29 above.

                 6                 139.   As a further direct, proximate, and foreseeable result of defendants conduct,

                 7         MICHELLE MCFADYEN was fatally killed, causing TROY McFADYEN, PHILLIP BOW and

                 8         SIA BOW to suffer the loss of their spouse/mother, depriving plaintiffs of the care, comfort,

                 9         society and support of their loved one, MICHELLE MCFADYEN, and causing plaintiffs to

                 10        incur funeral and burial expenses, and retain counsel and incur legal fees in an amount subject to

                 11        proof at the time of trial of this matter, as set forth in paragraphs 31-34 above.

                 12                140.   Plaintiffs are informed and believe and thereon allege that defendants, and each

                 13        of them, are in some other way responsible for acts of which plaintiffs are unaware. Plaintiffs

                 14        will seek leave of Court to amend this complaint at such time as plaintiffs discover the other

                 15        conduct of said defendants constituting such liability.

                 16                                       THIRTEENTH CAUSE OF ACTION

                 17                                      WASTE OF PUBLIC FUNDS
                                                     VIOLATION OF CCP SECTION 526A
                 18             (As to Defendants County Of Tehama, Tehama County Sheriffs’ Office, Sheriff Dave
                                                   Hencratt, Assistant Sheriff Phil Johnston)
                 19
                 20                Plaintiffs hereby incorporate by reference all preceding paragraphs as though set out in

                 21        full herein.

                 22                141.   There currently is a dispute between the parties for which declaratory and

                 23        injunctive relief is appropriate pursuant to Code of Civil Procedure section 526a.

                 24                142.   Plaintiffs are informed and believe and thereon allege that defendants, and each

                 25        of them, have a policy, practice, custom and/or habit of violating constitutional rights and

                 26        privileges of members of the public, including the public’s due process rights and equal

                 27        protection rights under the 14 Amendment.
                                                          th




                 28                143.   More specifically, plaintiffs are informed and believe that other citizens have
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                 1         been treated unlawfully and abused by defendants, and each of them, through its custom, policy

                 2         or practice of failing or refusing to properly investigate citizen complaints, failing or refusing to

                 3         respond to and investigate complaints surrounding violations of restraining orders, threatening

                 4         reporting parties with jail and/ or arrest for contacting the department and failing or refusing to

                 5         take corrective or disciplinary action against deputies who act improperly, thus leading to the

                 6         constitutional violations against Plaintiff as described herein.

                 7                144.    Plaintiffs are informed and believe and thereon allege that the murderous acts of

                 8         NEAL were made possible by the deliberate indifference of defendants, and each of them, and

                 9         their employees or agents, and lack of understanding of how to, or outright refusal to perform

                 10        their duties, including carrying out the lawful orders of the Superior Court and, and violating

                 11        the community’s equal protection and due process rights under the law, requiring defendants,

                 12        and each of them, to protect the community from a known dangerous and mentally unstable

                 13        man.

                 14               145.    Plaintiffs are informed and believe and thereon allege that on this failure is a

                 15        consequence of a policy or practice of County officials to overlook acts and threats of violence

                 16        against the citizens of these rural areas. Further, plaintiffs allege there was totally inadequate

                 17        training by defendants, and each of them, as to the laws they are tasked with enforcing.

                 18               146.    Plaintiffs are informed and believe that defendants, and each of them, has a

                 19        habit, custom, policy and/or practice of ratifying such wrongful conduct, and in fact permitting,

                 20        condoning, and/or failing to take action against deputies who commit acts in violation of state,

                 21        federal and constitutional rights and privileges.

                 22               147.    Plaintiffs are informed and believe and thereon allege that tax payer dollars are

                 23        spent on supporting law enforcement activities, including, but not limited to the expending of

                 24        the time of the paid sheriff deputies who are failing or refusing to perform their duties and

                 25        obligations under the law.

                 26               148.    Thus, Plaintiffs bring this action under CCP § 526a to obtain a judgment to

                 27        declare plaintiffs’ right to equal protection under the law, and require defendants, and each of

                 28        them, to comply with their obligations under the law to investigate citizens’ complaints where
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                 1         there are credible threats of violence and/or evidence of violations of restraining orders without

                 2         threatening the reporting party, and stop its practice of discriminating against unincorporated

                 3         communities.

                 4                 149.   Plaintiffs make this request for injunctive relief based upon their standing as

                 5         taxpayers pursuant to CCP § 526a.

                 6             Additional STATE causes of action against the ESTATE OF KEVIN NEAL, brought

                 7         pursuant to 28 U.S.C. §1367:

                 8                                       FOURTEENTH CAUSE OF ACTION

                 9                                                     BATTERY
                                                (As to the Successor in Interest or Estate of Kevin Neal)
                 10
                 11                Plaintiffs hereby incorporate by reference all preceding paragraphs as though set out in

                 12        full herein.

                 13                150.   On or about November 14, 2017, KEVIN NEAL shot at and injured plaintiffs.

                 14                151.   Plaintiffs did not consent and were harmed by the conduct of KEVIN NEAL,

                 15        and a reasonable person in plaintiffs situation would have likewise been offended by said

                 16        conduct.

                 17                152.   As a direct, proximate, and foreseeable result of defendants’ conduct, plaintiff

                 18        TROY MCFADYEN suffered severe physical and mental and emotional pain, suffering and

                 19        injury, as well as lost wages / profits, medical bills and expenses, and other special and general

                 20        damages, all in an amount to be proven and trial, as well as attorney’s fees and costs as set forth

                 21        in paragraphs 25-29 above.

                 22                153.   As a further direct, proximate, and foreseeable result of defendants conduct,

                 23        MICHELLE MCFADYEN was fatally killed, causing TROY McFADYEN, PHILLIP BOW and

                 24        SIA BOW to suffer the loss of their spouse/mother, depriving plaintiffs of the care, comfort,

                 25        society and support of their loved one, MICHELLE MCFADYEN, and causing plaintiffs to

                 26        incur funeral and burial expenses, and retain counsel and incur legal fees in an amount subject to

                 27        proof at the time of trial of this matter, as set forth in paragraphs 31-34 above.

                 28                154.   The acts of KEVIN NEAL were done with deliberate indifference to plaintiffs’
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                 1         life, safety, and well-being and were done intentionally, maliciously recklessly, sadistically,

                 2         oppressively, outrageously, and with deliberate indifference and a reckless disregard of

                 3         plaintiff’s life and safety. Plaintiffs are entitled to an award of punitive damages against the

                 4         estate of KEVIN NEAL in an amount to be shown at trial.

                 5                 155.   Plaintiffs are informed and believe and thereon allege that defendants, and each

                 6         of them, are in some other way responsible for acts of which plaintiffs are unaware. Plaintiffs

                 7         will seek leave of Court to amend this complaint at such time as plaintiffs discover the other

                 8         conduct of said defendants constituting such liability.

                 9                                         FIFTEENTH CAUSE OF ACTION

                 10                                                    ASSAULT
                                                (As to the Successor in Interest or Estate of Kevin Neal)
                 11
                 12                Plaintiffs hereby incorporate by reference all preceding paragraphs as though set out in

                 13        full herein.

                 14                156.   On or about November 14, 2017, KEVIN NEAL shot at and injured plaintiffs,

                 15        with the intent to cause harmful or offensive contact with plaintiffs.

                 16                157.   Plaintiffs did not consent and were harmed by the conduct of KEVIN NEAL,

                 17        and KEVIN NEAL’s conduct was a substantial factor in causing plaintiffs harm.

                 18                158.   As a direct, proximate, and foreseeable result of defendants’ conduct, plaintiff

                 19        TROY MCFADYEN suffered severe physical and mental and emotional pain, suffering and

                 20        injury, as well as lost wages / profits, medical bills and expenses, and other special and general

                 21        damages, all in an amount to be proven and trial, as well as attorney’s fees and costs as set forth

                 22        in paragraphs 25-29 above.

                 23                159.   As a further direct, proximate, and foreseeable result of defendants conduct,

                 24        MICHELLE MCFADYEN was fatally killed, causing TROY McFADYEN, PHILLIP BOW and

                 25        SIA BOW to suffer the loss of their spouse/mother, depriving plaintiffs of the care, comfort,

                 26        society and support of their loved one, MICHELLE MCFADYEN, and causing plaintiffs to

                 27        incur funeral and burial expenses, and retain counsel and incur legal fees in an amount subject to

                 28        proof at the time of trial of this matter, as set forth in paragraphs 31-34 above.
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                 1                 160.   The acts of KEVIN NEAL were done with deliberate indifference to plaintiffs’

                 2         life, safety, and well-being and were done intentionally, maliciously recklessly, sadistically,

                 3         oppressively, outrageously, and with deliberate indifference and a reckless disregard of

                 4         plaintiff’s life and safety. Plaintiffs are entitled to an award of punitive damages against the

                 5         estate of KEVIN NEAL in an amount to be shown at trial.

                 6                 161.   Plaintiffs are informed and believe and thereon allege that defendants, and each

                 7         of them, are in some other way responsible for acts of which plaintiffs are unaware. Plaintiffs

                 8         will seek leave of Court to amend this complaint at such time as plaintiffs discover the other

                 9         conduct of said defendants constituting such liability.

                 10                                       SIXTEENTH CAUSE OF ACTION

                 11                         INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                                               (As to the Successor in Interest or Estate of Kevin Neal)
                 12
                 13                Plaintiffs hereby incorporate by reference all preceding paragraphs as though set out in

                 14        full herein.

                 15                162.   On or about November 14, 2017, KEVIN NEAL engaged in outrageous and

                 16        unacceptable behavior by shooting at, and injuring plaintiffs.

                 17                163.   KEVIN NEAL’s conduct was outrageous and so extreme that it goes beyond all

                 18        possible bounds of decency and a reasonable person would regard NEAL’s conduct as

                 19        intolerable in a civilized community.

                 20                164.   At all times pertinent hereto, KEVIN NEAL intended on causing plaintiffs

                 21        emotional distress and/or acted with reckless disregard of the probability that plaintiffs would

                 22        suffer emotional distress.

                 23                165.   As a direct, proximate, and foreseeable result of defendants’ conduct, plaintiffs

                 24        suffered severe emotional distress, including but not limited to, suffering, anguish, fright,

                 25        horror, nervousness, grief, anxiety, worry and shock.

                 26                166.   The conduct of KEVIN NEAL was a substantial factor in causing plaintiffs’

                 27        emotional distress.

                 28                167.   The acts of KEVIN NEAL were done with deliberate indifference to plaintiffs’
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                 1         life, safety, and well-being and were done intentionally, maliciously recklessly, sadistically,

                 2         oppressively, outrageously, and with deliberate indifference and a reckless disregard of

                 3         plaintiff’s life and safety. Plaintiffs are entitled to an award of punitive damages against the

                 4         estate of KEVIN NEAL in an amount to be shown at trial.

                 5                 168.    Plaintiffs are informed and believe and thereon allege that defendants, and each

                 6         of them, are in some other way responsible for acts of which plaintiffs are unaware. Plaintiffs

                 7         will seek leave of Court to amend this complaint at such time as plaintiffs discover the other

                 8         conduct of said defendants constituting such liability.

                 9                                      SEVENTEENTH CAUSE OF ACTION

                 10                               STRICT LIABILITY - ULTRAHAZARDOUS OR
                                                      ABNORMALLY DANGEORUS ACTIVITY
                 11                             (As to the Successor in Interest or Estate of Kevin Neal)

                 12
                                   Plaintiffs hereby incorporate by reference all preceding paragraphs as though set out in
                 13
                           full herein.
                 14
                                   169.    On or about November 14, 2017, KEVIN NEAL engaged in an ultrahazardous
                 15
                           activity, to wit: shooting in a residential neighborhood, and while subject to a restraining order
                 16
                           which prohibits his possession of firearms.
                 17
                                   170.    As a result of NEAL’s conduct, plaintiff TROY McFADYEN was shot and
                 18
                           injured and decedent MICHELLE MCFADYEN was killed.
                 19
                                   171.    Plaintiffs harm was the kind of harm that would be anticipated as a result of the
                 20
                           risk created by shooting a firearm in a residential neighborhood and at persons in the
                 21
                           neighborhood.
                 22
                                   172.    KEVIN NEAL’s conduct was a substantial factor in causing plaintiffs’ harm.
                 23
                                   173.    As a direct, proximate, and foreseeable result of defendants’ conduct, plaintiff
                 24
                           TROY MCFADYEN suffered severe physical and mental and emotional pain, suffering and
                 25
                           injury, as well as lost wages / profits, medical bills and expenses, and other special and general
                 26
                           damages, all in an amount to be proven and trial, as well as attorney’s fees and costs as set forth
                 27
                           in paragraphs 25-29 above.
                 28
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                 1                 174.   As a further direct, proximate, and foreseeable result of defendants conduct,

                 2         MICHELLE MCFADYEN was fatally killed, causing TROY McFADYEN, PHILLIP BOW and

                 3         SIA BOW to suffer the loss of their spouse/mother, depriving plaintiffs of the care, comfort,

                 4         society and support of their loved one, MICHELLE MCFADYEN, and causing plaintiffs to

                 5         incur funeral and burial expenses, and retain counsel and incur legal fees in an amount subject to

                 6         proof at the time of trial of this matter, as set forth in paragraphs 31-34 above.

                 7                 175.   The acts of KEVIN NEAL were done with deliberate indifference to plaintiffs’

                 8         life, safety, and well-being and were done intentionally, maliciously recklessly, sadistically,

                 9         oppressively, outrageously, and with deliberate indifference and a reckless disregard of

                 10        plaintiff’s life and safety. Plaintiffs are entitled to an award of punitive damages against the

                 11        estate of KEVIN NEAL in an amount to be shown at trial.

                 12                176.   Plaintiffs are informed and believe and thereon allege that defendants, and each

                 13        of them, are in some other way responsible for acts of which plaintiffs are unaware. Plaintiffs

                 14        will seek leave of Court to amend this complaint at such time as plaintiffs discover the other

                 15        conduct of said defendants constituting such liability.

                 16                                       EIGHTEENTH CAUSE OF ACTION

                 17                                                 HARASSMENT
                                                (As to the Successor in Interest or Estate of Kevin Neal)
                 18
                 19                Plaintiffs hereby incorporate by reference all preceding paragraphs as though set out in

                 20        full herein.

                 21                177.   At all times pertinent hereto, defendant KEVIN NEAL engaged in a course of

                 22        harassment against plaintiffs which was intended to scare, annoy and/or harass plaintiffs.

                 23                178.   As a result of KEVIN NEAL’s conduct, plaintiffs suffered fear, worry,

                 24        nervousness, grief, anger and annoyance.

                 25                179.   The acts of KEVIN NEAL were done with deliberate indifference to plaintiffs’

                 26        life, safety, and well-being and were done intentionally, maliciously recklessly, sadistically,

                 27        oppressively, outrageously, and with deliberate indifference and a reckless disregard of

                 28        plaintiff’s life and safety. Plaintiffs are entitled to an award of punitive damages against the
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                 1         estate of KEVIN NEAL in an amount to be shown at trial.

                 2            Additional     STATE      causes    of   action   against   THE     RANCHO           TEHAMA

                 3         ASSOCIATION, brought pursuant to 28 U.S.C. §1367:

                 4
                                                         NINETEENTH CAUSE OF ACTION
                 5
                                                                    NEGLIGENCE
                 6                                      (As to the Rancho Tehama Association)

                 7
                                  Plaintiffs incorporate herein by reference all preceding paragraphs of this Complaint for
                 8
                           Damages as though fully set forth herein.
                 9
                                  180.     At all times mentioned herein, Defendant ASSOCIATION was, and now is a
                 10
                           California corporation, with its principal place of business in Tehama County, California, and is
                 11
                           commonly called the Rancho Tehama Association. Defendant association has its principal office
                 12
                           in Tehama County, California.
                 13
                                  181.     Defendant association, was formed and now exists, for the benefit, protection,
                 14
                           and safety of the individual owner-members of the association, for the purposes set forth in
                 15
                           Article I of the Articles of Incorporation of the Association, which sets forth that the
                 16
                           Association is formed to provide for maintenance, preservation and control of the residence
                 17
                           Lots and Common Area of Rancho Tehama covered by the Association, and to promote the
                 18
                           health, safety and welfare of the residents within that property, including the duties of
                 19
                           maintenance, management, upkeep, and repair of all of the Common Area and all facilities of
                 20
                           Rancho Tehama Association neighborhoods.
                 21
                                  182.     At all times herein mentioned, defendants and each of them owned, maintained,
                 22
                           controlled, managed, and operated the premises and common areas of the premises of the
                 23
                           Association.
                 24
                                  183.     At all relevant times herein mentioned, defendants, and each of them, had a
                 25
                           fiduciary duty to plaintiffs to maintain security in the premises and common areas of the
                 26
                           Association premises, against criminal conduct and other foreseeable risks of injury.
                 27
                                  184.     Plaintiffs are informed and believe and thereon allege, that numerous
                 28
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                 1         complaints had been made to the Association and its members, regarding the danger posed by

                 2         KEVIN NEAL, including but not limited to, concerns that NEAL had firearms, that NEAL was

                 3         discharging firearms within the common areas of the community, that the DEPARTMENT were

                 4         not responding to calls and steps needed to be taken to get a greater law enforcement presence,

                 5         that NEAL, a renter, was causing numerous issues and acting erratically and violently towards

                 6         his neighbors and members of the community. Despite these reports, no action was taken to

                 7         protect plaintiffs or other members in the common areas of the Rancho Tehama Association.

                 8                185.     As set forth herein, prior to November 2017, and continuing through November

                 9         2017, defendant association failed to maintain and control the common areas to be free from

                 10        known dangers posed by NEAL having guns and discharging them in common areas; and failed

                 11        to exercise due care for the plaintiffs', and others, safety in these areas, under

                 12        the association's control, in that the association failed to take any steps to deter the ongoing and

                 13        continuing criminal conduct of KEVIN NEAL, as alleged herein, and even though

                 14        the association had been informed that crimes were being committed by KEVIN NEAL and

                 15        danger he posed to the association members, and knew that the violent threats and acts

                 16        continuing and escalating, the association failed to take any action to protect the health, welfare,

                 17        and safety of plaintiffs, or others, in and around plaintiffs residence, or the common areas of the

                 18        community.

                 19               186.     The above-described negligence of defendant association caused plaintiffs, and

                 20        others, to be virtually at the mercy of KEVIN NEAL’s violent acts.

                 21               187.     The above-described negligence of defendant association breached its duty to

                 22        plaintiffs to maintain security in the premises and common areas of the premises against

                 23        criminal conduct and other foreseeable risks of injury.

                 24               188.     The herein-described conduct of defendant association was performed within

                 25        the scope of their association and director duties, were not performed in good faith, and were

                 26        willful, wanton, or grossly negligent.

                 27               189.     As a result of the negligence, acts and failures to act by defendant association as

                 28        alleged above, plaintiffs and others, were continuously placed in great apprehension of
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                 1         further violent attacks and threats by defendant KEVIN NEAL with no hope of assistance by

                 2         defendant association and defendant directors.

                 3                190.    As a direct, proximate, and foreseeable result of defendants’ conduct, plaintiff

                 4         TROY MCFADYEN suffered severe physical and mental and emotional pain, suffering and

                 5         injury, as well as lost wages / profits, medical bills and expenses, and other special and general

                 6         damages, all in an amount to be proven and trial, as well as attorney’s fees and costs as set forth

                 7         in paragraphs 25-29 above.

                 8                191.    As a further direct, proximate, and foreseeable result of defendants conduct,

                 9         MICHELLE MCFADYEN was fatally killed, causing TROY McFADYEN, PHILLIP BOW and

                 10        SIA BOW to suffer the loss of their spouse/mother, depriving plaintiffs of the care, comfort,

                 11        society and support of their loved one, MICHELLE MCFADYEN, and causing plaintiffs to

                 12        incur funeral and burial expenses, and retain counsel and incur legal fees in an amount subject to

                 13        proof at the time of trial of this matter, as set forth in paragraphs 31-34 above.

                 14               192.    Plaintiffs are informed and believe and thereon allege that defendants, and each

                 15        of them, are in some other way responsible for acts of which plaintiffs are unaware. Plaintiffs

                 16        will seek leave of Court to amend this complaint at such time as plaintiffs discover the other

                 17        conduct of said defendants constituting such liability.

                 18                                       TWENTIETH CAUSE OF ACTION

                 19                                      PUBLIC AND PRIVATE NUISANCE
                                                               (As to all defendants)
                 20
                 21               Plaintiffs incorporates herein by reference all preceding paragraphs of this Complaint for

                 22        Damages as though fully set forth herein.

                 23               193.    At all times pertinent hereto, KEVIN NEAL was permitted to interfere with the

                 24        public and the Plaintiffs comfortable enjoyment of their real property by acting violently,

                 25        erratically, and in an unsafe manner, by threatening members of the community, assaulting

                 26        members of the community, owning and discharging firearms within the community and his

                 27        home despite being a felon and subject to a restraining order that prohibited NEAL from

                 28        possessing guns, and being a nuisance to the community.
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                 1                 194.   Plaintiff is informed and believes and thereon alleges, that defendants, and each

                 2         of them, permitted the nuisance caused by NEAL to continue, as they actively ignored,

                 3         discouraged complaints by, and refused to take any steps to stop and/or prevent the nuisance and

                 4         threat caused by NEAL.

                 5                 195.   Defendant NEAL’s conduct constitutes a public nuisance within the meaning

                 6         of Civil Code section 3480 and a private nuisance within the meaning of Civil Code section

                 7         3481.

                 8                 196.   The acts and conduct taken by defendants, and each of them, in creating and/or

                 9         exacerbating a condition where NEAL was allowed to discharge firearms and act violently and

                 10        aggressively towards members of the community, including plaintiff, was harmful to plaintiffs,

                 11        and others health, indecent and offensive, was an obstruction of the free use of property and

                 12        interfered with plaintiffs, and others, comfortable enjoyment of life and property. Further, the

                 13        condition affected a substantial number of people at the same time – to wit members of the

                 14        Rancho Tehama community, NEAL’s neighbors and members of the public in general.

                 15                197.   At no point herein did plaintiffs, or others in the Rancho Tehama community

                 16        consent to NEAL’s conduct, or the conduct of defendants, and each of them, in permitting

                 17        NEAL to continue to act in a violent and erratic manner.

                 18                198.   Defendants, and each of their conduct and deliberate indifference to a known

                 19        threat, and the rights and safety of others, was such that an ordinary person would be reasonably

                 20        annoyed or disturbed by said conduct.

                 21                199.   Defendants, and each of their, conduct and deliberate indifference was a

                 22        substantial factor in causing plaintiffs harm.

                 23                200.   As a direct, proximate, and foreseeable result of defendants’ conduct, plaintiff

                 24        TROY MCFADYEN suffered severe physical and mental and emotional pain, suffering and

                 25        injury, as well as lost wages / profits, medical bills and expenses, and other special and general

                 26        damages, all in an amount to be proven and trial, as well as attorney’s fees and costs as set forth

                 27        in paragraphs 25-29 above.

                 28                201.   As a further direct, proximate, and foreseeable result of defendants conduct,
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                 1         MICHELLE MCFADYEN was fatally killed, causing TROY McFADYEN, PHILLIP BOW and

                 2         SIA BOW to suffer the loss of their spouse/mother, depriving plaintiffs of the care, comfort,

                 3         society and support of their loved one, MICHELLE MCFADYEN, and causing plaintiffs to

                 4         incur funeral and burial expenses, and retain counsel and incur legal fees in an amount subject to

                 5         proof at the time of trial of this matter, as set forth in paragraphs 31-34 above.

                 6                  202.   Plaintiffs are informed and believe and thereon allege that defendants, and each

                 7         of them, are in some other way responsible for acts of which plaintiffs are unaware. Plaintiffs

                 8         will seek leave of Court to amend this complaint at such time as plaintiffs discover the other

                 9         conduct of said defendants constituting such liability.

                 10                                      TWENTY-FIRST CAUSE OF ACTION

                 11                 NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS – BYSTANDER –
                                                                   (Troy McFadyen only)
                 12                                                 (As to All Defendants)
                                    Plaintiffs incorporate herein by reference all preceding paragraphs of this Complaint for
                 13
                           Damages as though fully set forth herein.
                 14
                                    203.   Defendants, and each of them, had a duty to Plaintiffs as members of the public
                 15
                           to ensure that its employees and/or agents acted in a manner consistent with their obligations,
                 16
                           duties and responsibilities under the law.
                 17
                                    204.   Defendants, and each of them, breached such duty of care to Plaintiffs by
                 18
                           engaging in the conduct described in paragraphs 35-43.
                 19
                                    205.   As a result of this conduct, plaintiffs were attacked by KEVIN NEAL and
                 20
                           sustained serious injuries.
                 21
                                    206.   TROY McFADYEN was present when MICHELLE MCFADYEN was shot and
                 22
                           killed and was aware that the MICHELLE was shot by NEAL at the time the shooting took
                 23
                           place.
                 24
                                    207.   TROY McFADYEN suffered serious emotional distress, including but not
                 25
                           limited to, suffering, anguish, fright, horror, nervousness, grief, anxiety, shock and worry as a
                 26
                           result of this incident and conduct of defendants, and each of them.
                 27
                                    208.   Defendants, and each of their, conduct was a substantial factor in causing
                 28
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                 1         plaintiffs harm, and/or enhanced the risk of harm to plaintiff, and each of them, and thereafter

                 2         failed to protect them, proximately causing plaintiffs to be deprived of their constitutional rights

                 3         and/or be injured.

                 4                209.    As a direct, proximate, and foreseeable result of defendants’ conduct, plaintiff

                 5         TROY MCFADYEN suffered severe physical and mental and emotional pain, suffering and

                 6         injury, as well as lost wages / profits, medical bills and expenses, and other special and general

                 7         damages, all in an amount to be proven and trial, as well as attorney’s fees and costs as set forth

                 8         in paragraphs 25-29 above.

                 9                210.    As a further direct, proximate, and foreseeable result of defendants conduct,

                 10        MICHELLE MCFADYEN was fatally killed, causing TROY McFADYEN, PHILLIP BOW and

                 11        SIA BOW to suffer the loss of their spouse/mother, depriving plaintiffs of the care, comfort,

                 12        society and support of their loved one, MICHELLE MCFADYEN, and causing plaintiffs to

                 13        incur funeral and burial expenses, and retain counsel and incur legal fees in an amount subject to

                 14        proof at the time of trial of this matter, as set forth in paragraphs 31-34 above.

                 15               211.    Plaintiffs are informed and believe and thereon allege that defendants, and each

                 16        of them, are in some other way responsible for acts of which plaintiffs are unaware. Plaintiffs

                 17        will seek leave of Court to amend this complaint at such time as plaintiffs discover the other

                 18        conduct of said defendants constituting such liability.

                 19           Additional STATE causes of action against ASSISTANT SHERIFF PHIL

                 20        JOHNSTON, brought pursuant to 28 U.S.C. §1367:

                 21                                    TWENTY-SECOND CAUSE OF ACTION

                 22                         INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                                                        (As to Troy McFadyen only)
                 23                                        (As to All Defendants)

                 24               Plaintiffs incorporate herein by reference all preceding paragraphs of this Complaint for

                 25        Damages as though fully set forth herein.

                 26               212.    After the shooting, plaintiffs are further informed and believe and thereon allege

                 27        that, the DEPARTMENT assumed TROY McFADYEN was the shooter and detained him, even

                 28        though TROY MCFADYEN had been shot by KEVIN NEAL. During his detention, TROY
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                 1         was not free to leave and was in the officer’s custody. Therefore, there existed a “special

                 2         relationship” between plaintiffs and the officers at the point they detained him, for the purposes

                 3         of establishing the officers’ duty to act under 42 USC section 1983. Even though TROY

                 4         McFADYEN was shot and required medical assistance, defendants refused to provide him with

                 5         medical care. After determining that plaintiff TROY McFADYEN was a victim, and not the

                 6         shooter, the DEPARTMENT simply left him in the middle of the road, injured, and again

                 7         refused to summon medical assistance. Defendants affirmative conduct placed plaintiff in an

                 8         even more dangerous situation and were deliberately indifferent to the fact that plaintiff may

                 9         suffer further injury or assault by being left in an open-shooter situation and with severe

                 10        medical injuries. A third party happened upon TROY laying in the road and, realizing the

                 11        danger, moved him into a dumpster for protection.

                 12               213.    At all times pertinent hereto, defendant COUNTY had a duty to protect plaintiffs

                 13        from acts of third parties due to the existence of the special relationship.

                 14               214.    In committing the acts described herein, defendant COUNTY breached their

                 15        constitutional duty owed to plaintiff and acted willfully, knowingly, under color of state

                 16        authority, and purposefully with the specific intent to deprive Plaintiffs of their right to be

                 17        protected from the wrongful acts of KEVIN NEAL.

                 18               215.    The conduct of defendants, and each of them, as set forth above, was done by

                 19        defendants, and each of them, in a manner that shocks the conscience, and/or in conscious

                 20        disregard or deliberate indifference to a known and obvious danger.

                 21               216.    Defendants, and each of their, conduct in leaving Troy McFadyen in a dangerous

                 22        open shooter situation, while he was in dire need of medical care, and after having unlawfully

                 23        detained him, was outrageous, intended to cause plaintiffs emotional distress, or was made with

                 24        reckless disregard of the probability that plaintiffs would suffer emotional distress, knowing

                 25        that plaintiffs would hear the statement made to the public.

                 26               217.    As a result of this conduct, plaintiff suffered serious emotional distress,

                 27        including but not limited to, suffering, anguish, fright, horror, nervousness, grief, anxiety,

                 28        shock and worry as a result of this incident, and defendants’ conduct was a substantial factor in
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                 1         causing plaintiff’s harm.

                 2                218.    The statements of PHIL JOHNSTON were done with deliberate indifference to

                 3         plaintiffs’ life, safety, and well-being and were done intentionally, maliciously recklessly,

                 4         sadistically, oppressively, outrageously, and with deliberate indifference and a reckless

                 5         disregard of plaintiff’s life and safety. Plaintiffs are entitled to an award of punitive damages

                 6         against PHIL JOHNSTON in an amount to be shown at trial.

                 7                219.    Plaintiffs are informed and believe and thereon allege that defendants, and each

                 8         of them, are in some other way responsible for acts of which plaintiffs are unaware. Plaintiffs

                 9         will seek leave of Court to amend this complaint at such time as plaintiffs discover the other

                 10        conduct of said defendants constituting such liability.

                 11
                 12                                        VII.        PRAYER FOR RELIEF

                 13               WHEREFORE, PLAINTIFFS PRAY FOR A JURY TRIAL and judgment against

                 14        defendants as follows:

                 15               1.      For general damages for TROY MCFADYEN, against each defendant, jointly

                 16        and severally, in the amount to be proven at trial;

                 17               2.      For special damages for TROY MCFADYEN, against each defendant, jointly

                 18        and severally, in the amount to be proved at trial;

                 19               3.      For medical expenses of TROY MCFADYEN, against each defendant, jointly

                 20        and severally, according to proof;

                 21               4.      For loss of wages and earning capacity for TROY MCFADYEN, against each

                 22        defendant, jointly and severally, in a sum according to proof;

                 23               5.      General damages for TROY MCFADYEN, SIA BOW and PHILLIP BOW, for

                 24        the loss of society and companionship of decedent MICHELLE MCFADYEN, against each

                 25        defendant, jointly and severally, in the amount to be proven at trial;

                 26               6.      For funeral and burial expenses of MICHELL MCFADYEN, for TROY

                 27        MCFADYEN, SIA BOW and PHILLIP BOW, against each defendant, jointly and severally,

                 28        according to proof;
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                 1                7.     For special damages for TROY MCFADYEN, SIA BOW and PHILLIP BOW

                 2         for future contributions and value of personal services, advice or training as to decedent

                 3         MICHELLE MCFADYEN, against each defendant, jointly and severally, according to proof;

                 4                8.     For punitive and exemplary damages to TROY MCFADYEN, SIA BOW and

                 5         PHILLIP BOW against defendants, and each of them, (except municipality defendants) in an

                 6         amount appropriate to punish them and deter others from engaging in similar misconduct;

                 7                9.     For prejudgment interest, as allowed by law;

                 8                10.    For injunctive relief against COUNTY and DEPARTMENT defendants;

                 9                11.    For costs and reasonable attorneys’ fees against defendant COUNTY and

                 10        DEPARTMENT pursuant to 42 U.S.C. §1985 and §1988 and as otherwise authorized by statute

                 11        or law; and

                 12               12.    For such other and further relief as this Court may deem proper.

                 13
                           DATED: November 5, 2018                         BARR & MUDFORD, LLP
                 14
                                                                             /s/ Cathleen Theresa Barr
                 15                                                        JOHN DOUGLAS BARR (SBN 40663)
                                                                           CATHLEEN T BARR (SBN 295538)
                 16                                                        ESTEE LEWIS (SBN 268358)
                                                                           BRANDON STORMENT (SBN 267260)
                 17                                                        TROY DOUGLAS MUDFORD (156392)
                                                                           Attorneys for Plaintiffs
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